                                      Case 16-19213-AJC               Doc 1       Filed 06/29/16            Page 1 of 61
 Fill in this information to identify your case:

     United States Bankruptcy Court for the:

      
     __________         
                 District of __________

     Case number   (If known):   _________________________ Chapter you are filing under:
                                                               Chapter 7
                                                                 Chapter 11
                                                                 Chapter 12
                                                                 Chapter 13                                                    Check if this is an
                                                                                                                               amended filing


                             101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                             12/15

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Part 1:       Identify Yourself

                                            About Debtor 1:                                           About Debtor 2 (Spouse Only in a Joint Case):
1.     Your full name
       Write the name that is on your
       government-issued picture
                                            
                                            __________________________________________________        __________________________________________________
                                            First name                                                First name
       identification (for example,
       your driver’s license or             __________________________________________________        __________________________________________________
       passport).                           Middle name                                               Middle name

       Bring your picture                   
                                            __________________________________________________        __________________________________________________
       identification to your meeting       Last name                                                 Last name
       with the trustee.                    ___________________________                               ___________________________
                                            Suffix (Sr., Jr., II, III)                                Suffix (Sr., Jr., II, III)




2.     All other names you                  __________________________________________________        __________________________________________________
       have used in the last 8              First name                                                First name
       years
                                            __________________________________________________        __________________________________________________
       Include your married or              Middle name                                               Middle name
       maiden names.                        __________________________________________________        __________________________________________________
                                            Last name                                                 Last name

                                            __________________________________________________        __________________________________________________
                                            First name                                                First name

                                            __________________________________________________        __________________________________________________
                                            Middle name                                               Middle name

                                            __________________________________________________        __________________________________________________
                                            Last name                                                 Last name




3.     Only the last 4 digits of
       your Social Security                 xxx             ____
                                                  – xx – ____   ____
                                                                    ____
                                                                                                     xxx    – xx – ____ ____ ____ ____
       number or federal                    OR                                                        OR
       Individual Taxpayer
       Identification number                9 xx – xx – ____ ____ ____ ____                           9 xx – xx – ____ ____ ____ ____
       (ITIN)

Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                           page 1
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Debtor 1                             
              _______________________________________________________                              Case number (if known)_____________________________________
              First Name   Middle Name             Last Name




                                         About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):


4.   Any business names
     and Employer                           I have not used any business names or EINs.                    I have not used any business names or EINs.
     Identification Numbers
     (EIN) you have used in              _________________________________________________              _________________________________________________
     the last 8 years                    Business name                                                  Business name

     Include trade names and
                                         _________________________________________________              _________________________________________________
     doing business as names             Business name                                                  Business name


                                         ___ ___ – ___ ___ ___ ___ ___ ___ ___                          ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                         EIN                                                            EIN

                                         ___ ___ – ___ ___ ___ ___ ___ ___ ___                          ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                         EIN                                                            EIN




5.   Where you live                                                                                     If Debtor 2 lives at a different address:



                                            
                                         _________________________________________________              _________________________________________________
                                         Number     Street                                              Number     Street


                                         _________________________________________________              _________________________________________________


                                                                           
                                         _________________________________________________              _________________________________________________
                                         City                            State   ZIP Code               City                            State   ZIP Code

                                          
                                         _________________________________________________              _________________________________________________
                                         County                                                         County


                                         If your mailing address is different from the one              If Debtor 2’s mailing address is different from
                                         above, fill it in here. Note that the court will send          yours, fill it in here. Note that the court will send
                                         any notices to you at this mailing address.                    any notices to this mailing address.


                                         _________________________________________________              _________________________________________________
                                         Number     Street                                              Number     Street


                                         _________________________________________________              _________________________________________________
                                         P.O. Box                                                       P.O. Box

                                         _________________________________________________              _________________________________________________
                                         City                            State   ZIP Code               City                            State   ZIP Code




6.   Why you are choosing                Check one:                                                     Check one:
     this district to file for
                                            Over the last 180 days before filing this petition,           Over the last 180 days before filing this petition,
     bankruptcy
                                             I have lived in this district longer than in any              I have lived in this district longer than in any
                                             other district.                                               other district.

                                             I have another reason. Explain.                               I have another reason. Explain.
                                             (See 28 U.S.C. § 1408.)                                       (See 28 U.S.C. § 1408.)
                                             ________________________________________                      ________________________________________
                                             ________________________________________                      ________________________________________
                                             ________________________________________                      ________________________________________
                                             ________________________________________                      ________________________________________



Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                     page 2
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Debtor 1                                    
              _______________________________________________________                             Case number (if known)_____________________________________
              First Name   Middle Name             Last Name




Part 2:     Tell the Court About Your Bankruptcy Case


7.    The chapter of the                 Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you                for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file                Chapter 7
      under
                                             Chapter 11
                                             Chapter 12
                                             Chapter 13


8.    How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                             local court for more details about how you may pay. Typically, if you are paying the fee
                                             yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                             submitting your payment on your behalf, your attorney may pay with a credit card or check
                                             with a pre-printed address.

                                             I need to pay the fee in installments. If you choose this option, sign and attach the
                                             Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                             I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                             By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                             less than 150% of the official poverty line that applies to your family size and you are unable to
                                             pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                             Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for                  No
      bankruptcy within the
      last 8 years?                          Yes. District __________________________ When       _______________ Case number ___________________________
                                                                                                 MM / DD / YYYY

                                                   District __________________________ When      _______________ Case number ___________________________
                                                                                                 MM / DD / YYYY

                                                   District __________________________ When      _______________ Case number ___________________________
                                                                                                 MM / DD / YYYY



10.   Are any bankruptcy                    No
      cases pending or being
      filed by a spouse who is               Yes. Debtor _________________________________________________ Relationship to you        _____________________
      not filing this case with                    District __________________________ When      _______________ Case number, if known____________________
      you, or by a business                                                                      MM / DD / YYYY
      partner, or by an
      affiliate?
                                                   Debtor _________________________________________________ Relationship to you       _____________________

                                                   District __________________________ When      _______________ Case number, if known____________________
                                                                                                 MM / DD / YYYY



11.   Do you rent your                    No.    Go to line 12.
      residence?                             Yes. Has your landlord obtained an eviction judgment against you and do you want to stay in your
                                                  residence?

                                                        No. Go to line 12.
                                                        Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                        this bankruptcy petition.



Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                   page 3
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Debtor 1                                            
                _______________________________________________________                                    Case number (if known)_____________________________________
                First Name        Middle Name             Last Name




Part 3:       Report About Any Businesses You Own as a Sole Proprietor


12.   Are you a sole proprietor                    No. Go to Part 4.
      of any full- or part-time
      business?                                     Yes. Name and location of business
      A sole proprietorship is a
      business you operate as an                         _______________________________________________________________________________________
                                                         Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnership, or                     _______________________________________________________________________________________
                                                         Number    Street
      LLC.
      If you have more than one
                                                         _______________________________________________________________________________________
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.                                  _______________________________________________          _______      __________________________
                                                          City                                                    State        ZIP Code


                                                         Check the appropriate box to describe your business:
                                                             Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                             Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                             Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                             Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                             None of the above


13.   Are you filing under                      If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
      Chapter 11 of the                         can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
      Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                                any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      are you a small business
      debtor?                                      No. I am not filing under Chapter 11.
      For a definition of small
      business debtor, see                          No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
      11 U.S.C. § 101(51D).                             the Bankruptcy Code.

                                                    Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                         Bankruptcy Code.


Part 4:       Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


14.   Do you own or have any                       No
      property that poses or is
      alleged to pose a threat                      Yes. What is the hazard?       ________________________________________________________________________
      of imminent and
      identifiable hazard to                                                       ________________________________________________________________________
      public health or safety?
      Or do you own any
      property that needs
                                                          If immediate attention is needed, why is it needed? _______________________________________________
      immediate attention?
      For example, do you own                                                      ________________________________________________________________________
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                          Where is the property? ________________________________________________________________________
                                                                                   Number         Street


                                                                                   ________________________________________________________________________

                                                                                   ________________________________________ _______           ____________________
                                                                                   City                                      State            ZIP Code


Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                    page 4
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Debtor 1                                         
                _______________________________________________________                                   Case number (if known)_____________________________________
                First Name     Middle Name            Last Name




Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling

                                             About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a
      briefing about credit                  You must check one:                                                You must check one:
      counseling.                             I received a briefing from an approved credit                       I received a briefing from an approved credit
                                                counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
      receive a briefing about credit           certificate of completion.                                         certificate of completion.
      counseling before you file for
                                                Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
      bankruptcy. You must
                                                plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
      truthfully check one of the
      following choices. If you
                                                I received a briefing from an approved credit                      I received a briefing from an approved credit
      cannot do so, you are not                 counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      eligible to file.                         filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                                certificate of completion.                                         certificate of completion.
      If you file anyway, the court
                                                Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
      can dismiss your case, you
                                                you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
      will lose whatever filing fee
                                                plan, if any.                                                      plan, if any.
      you paid, and your creditors
      can begin collection activities           I certify that I asked for credit counseling                       I certify that I asked for credit counseling
      again.                                    services from an approved agency, but was                          services from an approved agency, but was
                                                unable to obtain those services during the 7                       unable to obtain those services during the 7
                                                days after I made my request, and exigent                          days after I made my request, and exigent
                                                circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                                of the requirement.                                                of the requirement.
                                                To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                                requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                                what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                                you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                                bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                                required you to file this case.                                    required you to file this case.
                                                Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                                dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                                briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                                If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                                still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                                You must file a certificate from the approved                      You must file a certificate from the approved
                                                agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                                developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                                may be dismissed.                                                  may be dismissed.
                                                Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                                only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                                days.                                                              days.

                                                I am not required to receive a briefing about                      I am not required to receive a briefing about
                                                credit counseling because of:                                      credit counseling because of:

                                                   Incapacity.     I have a mental illness or a mental                 Incapacity.    I have a mental illness or a mental
                                                                   deficiency that makes me                                           deficiency that makes me
                                                                   incapable of realizing or making                                   incapable of realizing or making
                                                                   rational decisions about finances.                                 rational decisions about finances.
                                                   Disability.     My physical disability causes me                    Disability.    My physical disability causes me
                                                                   to be unable to participate in a                                   to be unable to participate in a
                                                                   briefing in person, by phone, or                                   briefing in person, by phone, or
                                                                   through the internet, even after I                                 through the internet, even after I
                                                                   reasonably tried to do so.                                         reasonably tried to do so.
                                                   Active duty. I am currently on active military                      Active duty. I am currently on active military
                                                                duty in a military combat zone.                                     duty in a military combat zone.
                                                If you believe you are not required to receive a                   If you believe you are not required to receive a
                                                briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                                motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                         page 5
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Debtor 1                                       
               _______________________________________________________                                Case number (if known)_____________________________________
               First Name    Middle Name             Last Name




Part 6:      Answer These Questions for Reporting Purposes

                                           16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do                     as “incurred by an individual primarily for a personal, family, or household purpose.”
      you have?
                                                    No. Go to line 16b.
                                                   Yes. Go to line 17.

                                           16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                money for a business or investment or through the operation of the business or investment.
                                                    No. Go to line 16c.
                                                    Yes. Go to line 17.

                                           16c. State the type of debts you owe that are not consumer debts or business debts.
                                                _______________________________________________________________

17.   Are you filing under
      Chapter 7?                               No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after  Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      any exempt property is            administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      excluded and                        No
      administrative expenses
      are paid that funds will be           Yes
      available for distribution
      to unsecured creditors?

18.   How many creditors do                   1-49                                   1,000-5,000                                25,001-50,000
      you estimate that you                    50-99                                  5,001-10,000                               50,001-100,000
      owe?                                     100-199                                10,001-25,000                              More than 100,000
                                               200-999

19.   How much do you                          $0-$50,000                             $1,000,001-$10 million                     $500,000,001-$1 billion
      estimate your assets to                  $50,001-$100,000                       $10,000,001-$50 million                    $1,000,000,001-$10 billion
      be worth?                               $100,001-$500,000                      $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                               $500,001-$1 million                    $100,000,001-$500 million                  More than $50 billion

20.   How much do you                          $0-$50,000                             $1,000,001-$10 million                     $500,000,001-$1 billion
      estimate your liabilities                $50,001-$100,000                       $10,000,001-$50 million                    $1,000,000,001-$10 billion
      to be?                                  $100,001-$500,000                      $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                               $500,001-$1 million                    $100,000,001-$500 million                  More than $50 billion
Part 7:      Sign Below

                                           I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                    correct.
                                           If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                           of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                           under Chapter 7.
                                           If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                           this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                           I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                           I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                           with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                           18 U.S.C. §§ 152, 1341, 1519, and 3571.

                                                 
                                               ______________________________________________                 _____________________________
                                               Signature of Debtor 1                                          Signature of Debtor 2

                                                           
                                               Executed on _________________                                  Executed on __________________
                                                                 MM   / DD   / YYYY                                          MM / DD     / YYYY


Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                       page 6
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Debtor 1      
             First Name   Middle Name
                                                  
             _______________________________________________________
                                                  Last Name
                                                                                                   Case number (if known)_____________________________________




                                        I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are           to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                      available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                        the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented              knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                                
                                            _________________________________                               Date           
                                                                                                                           _________________
                                           Signature of Attorney for Debtor                                                MM    /   DD / YYYY




                                                
                                           _________________________________________________________________________________________________
                                           Printed name

                                                 
                                           _________________________________________________________________________________________________
                                           Firm name

                                               
                                           _________________________________________________________________________________________________
                                           Number Street

                                           _________________________________________________________________________________________________

                                             
                                           ______________________________________________________  
                                                                                                  ____________  
                                                                                                               ______________________________
                                           City                                                   State        ZIP Code




                                                           
                                           Contact phone _____________________________________             Email address   
                                                                                                                            ______________________________




                                            
                                           ______________________________________________________  
                                                                                                  ____________
                                           Bar number                                             State




Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                       page 7
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Debtor 1                                 
             _______________________________________________________                         Case number (if known)_____________________________________
             First Name   Middle Name          Last Name




For you if you are filing this          The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an                   should understand that many people find it extremely difficult to represent
attorney                                themselves successfully. Because bankruptcy has long-term financial and legal
                                        consequences, you are strongly urged to hire a qualified attorney.
If you are represented by
an attorney, you do not                 To be successful, you must correctly file and handle your bankruptcy case. The rules are very
need to file this page.                 technical, and a mistake or inaction may affect your rights. For example, your case may be
                                        dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                        hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                        firm if your case is selected for audit. If that happens, you could lose your right to file another
                                        case, or you may lose protections, including the benefit of the automatic stay.
                                        You must list all your property and debts in the schedules that you are required to file with the
                                        court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                        in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                        property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                        also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                        case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                        cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                        Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

                                        If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                        hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                        successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                        Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                        be familiar with any state exemption laws that apply.

                                        Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                        consequences?
                                            No
                                            Yes

                                        Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                        inaccurate or incomplete, you could be fined or imprisoned?
                                            No
                                            Yes

                                        Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                            No
                                            Yes. Name of Person_____________________________________________________________________.
                                                 Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).



                                        By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I
                                        have read and understood this notice, and I am aware that filing a bankruptcy case without an
                                        attorney may cause me to lose my rights or property if I do not properly handle the case.


                                        _______________________________________________             ______________________________
                                         Signature of Debtor 1                                       Signature of Debtor 2

                                        Date               _________________                         Date             _________________
                                                           MM / DD / YYYY                                             MM / DD / YYYY

                                        Contact phone ______________________________________         Contact phone   ________________________________

                                        Cell phone         ______________________________________    Cell phone      ________________________________

                                        Email address ______________________________________         Email address   ________________________________



Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                   page 8
                                       Case 16-19213-AJC                              Doc 1           Filed 06/29/16                    Page 9 of 61


 Fill in this information to identify your case:

 Debtor 1                                        
                   __________________________________________________________________
                     First Name                       Middle Name                     Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                       Middle Name                     Last Name


 United States Bankruptcy Court for the:  
                                         __________         of
                                                     District 
                                                                 __________

 Case number         ___________________________________________                                                                                                               Check if this is an
                     (If known)                                                                                                                                                amended filing



                                  106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Part 1:        Summarize Your Assets


                                                                                                                                                                        Your assets
                                                                                                                                                                        Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ..........................................................................................................
                                                                                                                                                                                  
                                                                                                                                                                            $ ________________



    1b. Copy line 62, Total personal property, from Schedule A/B ...............................................................................................                    
                                                                                                                                                                            $ ________________


    1c. Copy line 63, Total of all property on Schedule A/B .........................................................................................................
                                                                                                                                                                                  
                                                                                                                                                                            $ ________________



Part 2:        Summarize Your Liabilities



                                                                                                                                                                        Your liabilities
                                                                                                                                                                        Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............
                                                                                                                                                                                  
                                                                                                                                                                            $ ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                                         
                                                                                                                                                                            $ ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ............................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                        +         
                                                                                                                                                                            $ ________________


                                                                                                                                        Your total liabilities                    
                                                                                                                                                                            $ ________________



Part 3:        Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                                    
                                                                                                                                                                            $ ________________
   Copy your combined monthly income from line 12 of Schedule I ..........................................................................................

5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ....................................................................................................                     
                                                                                                                                                                            $ ________________




Official Form 106Sum                                 Summary of Your Assets and Liabilities and Certain Statistical Information                                                  page 1 of 2
                                      Case 16-19213-AJC                Doc 1        Filed 06/29/16            Page 10 of 61
   Debtor 1                                      
                    _______________________________________________________                         Case number (if known)_____________________________________
                     First Name     Middle Name       Last Name




   Part 4:          Answer These Questions for Administrative and Statistical Records

   6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

              No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
             Yes


   7. What kind of debt do you have?

             Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
              family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

              Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
              this form to the court with your other schedules.



   8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
       Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                       
                                                                                                                                          $ _________________




   9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                             Total claim


        From Part 4 on Schedule E/F, copy the following:


       9a. Domestic support obligations (Copy line 6a.)                                                                       
                                                                                                             $_____________________



       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                              
                                                                                                             $_____________________


       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                    
                                                                                                             $_____________________



       9d. Student loans. (Copy line 6f.)                                                                                     
                                                                                                             $_____________________


       9e. Obligations arising out of a separation agreement or divorce that you did not report as                            
                                                                                                             $_____________________
           priority claims. (Copy line 6g.)

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +                    
                                                                                                             $_____________________



       9g. Total. Add lines 9a through 9f.                                                                                    
                                                                                                             $_____________________




Official Form 106Sum          Summary of Your Assets and Liabilities and Certain Statistical Information                                        page 2 of 2
                                   Case 16-19213-AJC                    Doc 1         Filed 06/29/16           Page 11 of 61

Fill in this information to identify your case and this filing:


Debtor 1                                        
                  __________________________________________________________________
                    First Name               Middle Name               Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name               Middle Name               Last Name


United States Bankruptcy Court for the:  
                                        __________         
                                                    District of ___________

Case number         ___________________________________________
                                                                                                                                             Check if this is an
                                                                                                                                             amended filing

                                 106A/B
Schedule A/B: Property                                                                                                                                  12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

         No. Go to Part 2.
        Yes. Where is the property?
                                                                 What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                    Single-family home                            the amount of any secured claims on Schedule D:
              
      1.1. _________________________________________                                                               Creditors Who Have Claims Secured by Property.
                                                                     Duplex or multi-unit building
           Street address, if available, or other description
                                                                     Condominium or cooperative                    Current value of the     Current value of the
                                                                     Manufactured or mobile home                   entire property?         portion you own?
             _________________________________________
                                                                     Land                                               
                                                                                                                   $________________            
                                                                                                                                            $_______________
                                                                     Investment property
                                      
             _________________________________________                                                             Describe the nature of your ownership
                                                                     Timeshare
             City                    State   ZIP Code                                                              interest (such as fee simple, tenancy by
                                                                     Other __________________________________
                                                                                                                   the entireties, or a life estate), if known.
                                                                 Who has an interest in the property? Check one.
                                                                                                                    
                                                                                                                   __________________________________________
                                                  Debtor 1 only
             _________________________________________
             County                                                  Debtor 2 only
                                                                     Debtor 1 and Debtor 2 only                       Check if this is community property
                                                                                                                      (see instructions)
                                                                     At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________
    If you own or have more than one, list here:
                                                                What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                    Single-family home                             the amount of any secured claims on Schedule D:
      1.2. ________________________________________                                                                Creditors Who Have Claims Secured by Property.
                                                                    Duplex or multi-unit building
           Street address, if available, or other description
                                                                   Condominium or cooperative                      Current value of the     Current value of the
                                                                    Manufactured or mobile home                    entire property?         portion you own?
             ________________________________________
                                                                    Land                                           $________________        $_________________
                                                                    Investment property
             ________________________________________
                                                                    Timeshare
                                                                                                                   Describe the nature of your ownership
             City                    State   ZIP Code                                                              interest (such as fee simple, tenancy by
                                                                    Other __________________________________       the entireties, or a life estate), if known.
                                                                Who has an interest in the property? Check one.    __________________________________________

                                                                   Debtor 1 only
             ________________________________________
             County                                                Debtor 2 only
                                                                   Debtor 1 and Debtor 2 only                         Check if this is community property
                                                                   At least one of the debtors and another            (see instructions)

                                                                Other information you wish to add about this item, such as local
                                                                property identification number: _______________________________


Official Form 106A/B                                            Schedule A/B: Property                                                              page 1
                                   Case 16-19213-AJC                      Doc 1           Filed 06/29/16                  Page 12 of 61
Debtor 1                                   
               _______________________________________________________                                         Case number (if known)_____________________________________
                First Name       Middle Name          Last Name




                                                                  What is the property? Check all that apply.                       Do not deduct secured claims or exemptions. Put
                                                                      Single-family home                                            the amount of any secured claims on Schedule D:
    1.3. ________________________________________                                                                                   Creditors Who Have Claims Secured by Property.
         Street address, if available, or other description           Duplex or multi-unit building
                                                                     Condominium or cooperative                                     Current value of the      Current value of the
                                                                                                                                    entire property?          portion you own?
            ________________________________________                  Manufactured or mobile home
                                                                      Land                                                          $________________         $_________________

            ________________________________________
                                                                      Investment property
            City                    State   ZIP Code                  Timeshare                                                     Describe the nature of your ownership
                                                                                                                                    interest (such as fee simple, tenancy by
                                                                      Other __________________________________                      the entireties, or a life estate), if known.
                                                                                                                                   __________________________________________
                                                                  Who has an interest in the property? Check one.
            ________________________________________                 Debtor 1 only
            County
                                                                     Debtor 2 only
                                                                     Debtor 1 and Debtor 2 only                                          Check if this is community property
                                                                                                                                         (see instructions)
                                                                     At least one of the debtors and another

                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number: _______________________________


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pag es                                                
                                                                                                                                                              $_________________
   you have attached for Part 1. Write that number here.             ......................................................................................




Part 2:      Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
      No
       Yes

            Make:                      ______________             Who has an interest in the property? Check one.                   Do not deduct secured claims or exemptions. Put
   3.1.
                                                                                                                                    the amount of any secured claims on Schedule D:
            Model:                     ______________
                                                                     Debtor 1 only                                                  Creditors Who Have Claims Secured by Property.
                                                                     Debtor 2 only
            Year:                      ____________                                                                                 Current value of the      Current value of the
                                                                     Debtor 1 and Debtor 2 only
            Approximate mileage: ____________                                                                                       entire property?          portion you own?
                                                                     At least one of the debtors and another
            Other information:
                                                                     Check if this is community property (see                       $________________         $________________
                                                                     instructions)



   If you own or have more than one, describe here:

           Make:                       ______________             Who has an interest in the property? Check one.                   Do not deduct secured claims or exemptions. Put
   3.2.
                                                                                                                                    the amount of any secured claims on Schedule D:
           Model:                      ______________                Debtor 1 only                                                  Creditors Who Have Claims Secured by Property.
                                                                     Debtor 2 only
           Year:                       ____________                                                                                 Current value of the      Current value of the
                                                                     Debtor 1 and Debtor 2 only
                                                                                                                                    entire property?          portion you own?
           Approximate mileage: ____________                         At least one of the debtors and another
           Other information:
                                                                     Check if this is community property (see                       $________________         $________________
                                                                     instructions)




                                                                  Schedule A/B: Property                                                                             page 2
                                        Case 16-19213-AJC                               Doc 1             Filed 06/29/16                     Page 13 of 61
Debtor 1                                     
                 _______________________________________________________                                                        Case number (if known)_____________________________________
                  First Name          Middle Name               Last Name




           Make:                             ______________                  Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   3.3.
                                                                                                                                                        the amount of any secured claims on Schedule D:
           Model:                            ______________
                                                                                  Debtor 1 only                                                         Creditors Who Have Claims Secured by Property.
                                                                                  Debtor 2 only
           Year:                             ____________                                                                                               Current value of the        Current value of the
                                                                                  Debtor 1 and Debtor 2 only
           Approximate mileage: ____________                                                                                                            entire property?            portion you own?
                                                                                  At least one of the debtors and another
           Other information:
                                                                                  Check if this is community property (see                              $________________           $________________
                                                                                  instructions)


           Make:                             ______________                  Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   3.4.
                                                                                                                                                        the amount of any secured claims on Schedule D:
           Model:                            ______________                       Debtor 1 only                                                         Creditors Who Have Claims Secured by Property.
                                                                                  Debtor 2 only
           Year:                             ____________                                                                                               Current value of the        Current value of the
                                                                                  Debtor 1 and Debtor 2 only
           Approximate mileage: ____________                                                                                                            entire property?            portion you own?
                                                                                  At least one of the debtors and another
           Other information:
                                                                                  Check if this is community property (see                              $________________           $________________
                                                                                  instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
       No
        Yes


           Make:        ____________________                                 Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.1.
                                                                                                                                                        the amount of any secured claims on Schedule D:
           Model: ____________________                                            Debtor 1 only                                                         Creditors Who Have Claims Secured by Property.
                                                                                  Debtor 2 only
           Year:        ____________
                                                                                  Debtor 1 and Debtor 2 only                                            Current value of the        Current value of the
           Other information:                                                     At least one of the debtors and another                               entire property?            portion you own?


                                                                                  Check if this is community property (see                              $________________           $________________
                                                                                  instructions)



   If you own or have more than one, list here:

           Make:        ____________________                                 Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.2.
                                                                                                                                                        the amount of any secured claims on Schedule D:
           Model: ____________________                                            Debtor 1 only                                                         Creditors Who Have Claims Secured by Property.
                                                                                  Debtor 2 only
           Year:        ____________                                                                                                                    Current value of the        Current value of the
                                                                                  Debtor 1 and Debtor 2 only
                                                                                                                                                        entire property?            portion you own?
           Other information:                                                     At least one of the debtors and another

                                                                                                                                                        $________________           $________________
                                                                                  Check if this is community property (see
                                                                                  instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pag es                                                                            
                                                                                                                                                                                   $_________________
   you have attached for Part 2. Write that number here ........................................................................................................................




                                                                               Schedule A/B: Property                                                                                     page 3
                                            Case 16-19213-AJC                                    Doc 1              Filed 06/29/16                         Page 14 of 61
Debtor 1                                      
                  _______________________________________________________                                                                    Case number (if known)_____________________________________
                    First Name            Middle Name                  Last Name




Part 3:        Describe Your Personal and Household Items

                                                                                                                                                                                             Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                            portion you own?
                                                                                                                                                                                             Do not deduct secured claims
                                                                                                                                                                                             or exemptions.

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
        No
       Yes. Describe.........                                                                                                                              
                                                                                                                                                                                              $___________________

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
       No
        Yes. Describe..........                                                                                                                                         
                                                                                                                                                                                              $___________________

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
    No
      Yes. Describe..........                                                                                                                                                                 $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
       No
        Yes. Describe..........                                                                                                                                                               $___________________

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
       No
        Yes. Describe. ..........                                                                                                                                                             $___________________

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
        No
       Yes. Describe. ..........                                                                                                                                                           
                                                                                                                                                                                              $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
       No
        Yes. Describe. ..........                                                                                                                                                             $___________________

13. Non-farm animals
   Examples: Dogs, cats, birds, horses
       No
        Yes. Describe. ..........                                                                                                                                                             $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list

       No
        Yes. Give specific
                                                                                                                                                                                              $___________________
        information. ..............

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                             
                                                                                                                                                                                              $______________________
   for Part 3. Write that number here ....................................................................................................................................................



                                                                                       Schedule A/B: Property                                                                                             page 4
                                               Case 16-19213-AJC                                            Doc 1                 Filed 06/29/16                              Page 15 of 61
Debtor 1                                      
                  _______________________________________________________                                                                                     Case number (if known)_____________________________________
                    First Name              Middle Name                       Last Name




Part 4:       Describe Your Financial Assets


Do you own or have any legal or equitable interest in any of the following?                                                                                                                                      Current value of the
                                                                                                                                                                                                                 portion you own?
                                                                                                                                                                                                                 Do not deduct secured claims
                                                                                                                                                                                                                 or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

       No
      Yes ................................................................................................................................................................      Cash: .......................                 
                                                                                                                                                                                                                  $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
      No
       Yes .....................                                                                  Institution name:


                                             17.1. Checking account:                              
                                                                                                 _________________________________________________________                                                                    
                                                                                                                                                                                                                  $__________________

                                             17.2. Checking account:                             _________________________________________________________                                                        $__________________

                                             17.3. Savings account:                              _________________________________________________________                                                        $__________________

                                             17.4. Savings account:                              _________________________________________________________                                                        $__________________

                                             17.5. Certificates of deposit:                      _________________________________________________________                                                        $__________________

                                             17.6. Other financial account:                      _________________________________________________________                                                        $__________________

                                             17.7. Other financial account:                      _________________________________________________________                                                        $__________________

                                             17.8. Other financial account:                      _________________________________________________________                                                        $__________________

                                             17.9. Other financial account:                      _________________________________________________________                                                        $__________________




18. Bonds, mutual funds, or publicly traded stocks
  Examples: Bond funds, investment accounts with brokerage firms, money market accounts
      No
       Yes .................                 Institution or issuer name:

                                             _________________________________________________________________________________________                                                                            $__________________
                                             _________________________________________________________________________________________                                                                            $__________________
                                             _________________________________________________________________________________________                                                                            $__________________




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture
      No                                    Name of entity:                                                                                                                    % of ownership:
       Yes. Give specific                    _____________________________________________________________________                                                               
                                                                                                                                                                                ___________%                      $__________________
       information about
       them.........................         _____________________________________________________________________                                                               
                                                                                                                                                                                ___________%                      $__________________
                                             _____________________________________________________________________                                                               
                                                                                                                                                                                ___________%                      $__________________




                                                                                                Schedule A/B: Property                                                                                                        page 5
                                          Case 16-19213-AJC                       Doc 1         Filed 06/29/16     Page 16 of 61
Debtor 1                                     
                 _______________________________________________________                                  Case number (if known)_____________________________________
                   First Name           Middle Name            Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

      No
       Yes. Give specific               Issuer name:
       information about
       them.......................      ______________________________________________________________________________________                $__________________
                                        ______________________________________________________________________________________
                                                                                                                                              $__________________
                                        ______________________________________________________________________________________
                                                                                                                                              $__________________


21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
      No
       Yes. List each
       account separately.              Type of account:          Institution name:

                                        401(k) or similar plan:   ___________________________________________________________________         $__________________

                                        Pension plan:             ___________________________________________________________________         $__________________

                                        IRA:                      ___________________________________________________________________         $__________________

                                        Retirement account:       ___________________________________________________________________         $__________________

                                        Keogh:                    ___________________________________________________________________         $__________________

                                        Additional account:       ___________________________________________________________________         $__________________

                                        Additional account:       ___________________________________________________________________         $__________________



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

      No
       Yes ..........................                         Institution name or individual:

                                        Electric:             ______________________________________________________________________          $___________________
                                        Gas:                  ______________________________________________________________________          $___________________
                                        Heating oil:          ______________________________________________________________________
                                                                                                                                              $___________________
                                        Security deposit on rental unit: _____________________________________________________________
                                                                                                                                              $___________________
                                        Prepaid rent:         ______________________________________________________________________
                                                                                                                                              $___________________
                                        Telephone:            ______________________________________________________________________
                                                                                                                                              $___________________
                                        Water:                ______________________________________________________________________
                                                                                                                                              $___________________
                                        Rented furniture:     ______________________________________________________________________
                                                                                                                                              $___________________
                                        Other:                ______________________________________________________________________
                                                                                                                                              $___________________


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

      No
       Yes ..........................   Issuer name and description:
                                         _______________________________________________________________________________________              $__________________
                                        _______________________________________________________________________________________               $__________________
                                        _______________________________________________________________________________________               $__________________


                                                                           Schedule A/B: Property                                                         page 6
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Debtor 1                                     
                 _______________________________________________________                                      Case number (if known)_____________________________________
                   First Name            Middle Name           Last Name




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
      No
       Yes ....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

                                                  ____________________________________________________________________________________                 $_________________
                                                  ____________________________________________________________________________________                 $_________________
                                                  ____________________________________________________________________________________                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit
      No
       Yes. Give specific
       information about them. ...                                                                                                                     $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      No
       Yes. Give specific
       information about them. ...                                                                                                                     $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
      No
       Yes. Give specific
       information about them. ...                                                                                                                     $__________________


Money or property owed to you?                                                                                                                         Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

28. Tax refunds owed to you
      No
       Yes. Give specific information                                                                                        Federal:              $_________________
            about them, including whether
            you already filed the returns                                                                                    State:                $_________________
            and the tax years. .......................
                                                                                                                             Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
      No
       Yes. Give specific information. .............
                                                                                                                            Alimony:                   $________________
                                                                                                                            Maintenance:               $________________
                                                                                                                            Support:                   $________________
                                                                                                                            Divorce settlement:        $________________
                                                                                                                            Property settlement:       $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
      No
       Yes. Give specific information. ..............
                                                                                                                                                       $______________________



                                                                           Schedule A/B: Property                                                                page 7
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Debtor 1                                      
                  _______________________________________________________                                                                    Case number (if known)_____________________________________
                    First Name            Middle Name                  Last Name




31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       No
        Yes. Name the insurance company             Company name:                                                                                Beneficiary:                                  Surrender or refund value:
             of each policy and list its value. ...
                                                                     ___________________________________________ ____________________________                                                  $__________________
                                                                     ___________________________________________ ____________________________                                                  $__________________
                                                                     ___________________________________________ ____________________________                                                  $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
       No
        Yes. Give specific information. .............
                                                                                                                                                                                               $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
       No
        Yes. Describe each claim. ....................
                                                                                                                                                                                               $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and righ ts
   to set off claims
       No
        Yes. Describe each claim. ....................
                                                                                                                                                                                               $_____________________




35. Any financial assets you did not already list

       No
        Yes. Give specific information............
                                                                                                                                                                                               $_____________________



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here ....................................................................................................................................................                   
                                                                                                                                                                                               $_____________________




Part 5:          Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
        Yes. Go to line 38.
                                                                                                                                                                                             Current value of the
                                                                                                                                                                                             portion you own?
                                                                                                                                                                                             Do not deduct secured claims
                                                                                                                                                                                             or exemptions.

38. Accounts receivable or commissions you already earned

       No
        Yes. Describe .......
                                                                                                                                                                                             $_____________________

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
       No
        Yes. Describe .......                                                                                                                                                                $_____________________



                                                                                       Schedule A/B: Property                                                                                             page 8
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Debtor 1                                       
                   _______________________________________________________                                                                   Case number (if known)_____________________________________
                    First Name            Middle Name                  Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       No
        Yes. Describe .......
                                                                                                                                                                                             $_____________________


41. Inventory
       No
        Yes. Describe .......                                                                                                                                                                $_____________________


42. Interests in partnerships or joint ventures
       No
        Yes. Describe ....... Name of entity:                                                                                                                         % of ownership:
                                         ______________________________________________________________________                                                       ________%              $_____________________
                                         ______________________________________________________________________                                                       ________%              $_____________________
                                         ______________________________________________________________________                                                       ________%              $_____________________


43. Customer lists, mailing lists, or other compilations
       No
        Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                      No
                      Yes. Describe . .......
                                                                                                                                                                                              $____________________


44. Any business-related property you did not already list
       No
        Yes. Give specific
                                         ______________________________________________________________________________________                                                               $____________________
        information .........
                                         ______________________________________________________________________________________                                                               $____________________

                                         ______________________________________________________________________________________                                                               $____________________

                                         ______________________________________________________________________________________                                                               $____________________

                                         ______________________________________________________________________________________                                                               $____________________

                                         ______________________________________________________________________________________                                                               $____________________

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                                                                                
                                                                                                                                                                                              $____________________
   for Part 5. Write that number here ....................................................................................................................................................




Part 6:          Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                 If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       No. Go to Part 7.
        Yes. Go to line 47.
                                                                                                                                                                                             Current value of the
                                                                                                                                                                                             portion you own?
                                                                                                                                                                                             Do not deduct secured claims
                                                                                                                                                                                             or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
       No
        Yes ..........................

                                                                                                                                                                                               $___________________



                                                                                       Schedule A/B: Property                                                                                             page 9
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 Debtor 1                                        
                     _______________________________________________________                                                                         Case number (if known)_____________________________________
                       First Name            Middle Name                    Last Name




48. Crops—either growing or harvested
          No
           Yes. Give specific
           information. ............                                                                                                                                                                     $___________________

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
          No
           Yes ..........................
                                                                                                                                                                                                         $___________________

50. Farm and fishing supplies, chemicals, and feed

          No
           Yes ..........................
                                                                                                                                                                                                         $___________________

51. Any farm- and commercial fishing-related property you did not already list
          No
           Yes. Give specific
           information. ............                                                                                                                                                                     $___________________

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                                                                                          
                                                                                                                                                                                                         $___________________
     for Part 6. Write that number here ....................................................................................................................................................




Part 7:            Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

          No
                                                                                                                                                                                                          $________________
           Yes. Give specific
           information. ............                                                                                                                                                                       $________________
                                                                                                                                                                                                           $________________


54. Add the dollar value of all of your entries from Part 7. Write that number here .................................................................
                                                                                                                                                                                                                       
                                                                                                                                                                                                           $________________




Part 8:             List the Totals of Each Part of this Form


55. Part 1: Total real estate, line 2 .............................................................................................................................. ................................
                                                                                                                                                                                                              
                                                                                                                                                                                                         $________________

56. Part 2: Total vehicles, line 5                                                                                              
                                                                                                                    $________________

57. Part 3: Total personal and household items, line 15                                                                     
                                                                                                                    $________________

58. Part 4: Total financial assets, line 36                                                                                   
                                                                                                                    $________________

59. Part 5: Total business-related property, line 45                                                                            
                                                                                                                    $________________

60. Part 6: Total farm- and fishing-related property, line 52                                                                   
                                                                                                                    $________________

61. Part 7: Total other property not listed, line 54                                                            + $________________
                                                                                                                              

62. Total personal property. Add lines 56 through 61. ....................                                                   Copy personal property total
                                                                                                                    $________________                                                                   + $_________________
                                                                                                                                                                                                                  


63. Total of all property on Schedule A/B. Add line 55 + line 62. .........................................................................................                                                    
                                                                                                                                                                                                         $_________________



                                                                                            Schedule A/B: Property                                                                                                page 10
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 Fill in this information to identify your case:

 Debtor 1                                        
                   __________________________________________________________________
                     First Name                Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                Middle Name               Last Name


 United States Bankruptcy Court for the:  
                                         __________         
                                                      District of __________

 Case number         ___________________________________________                                                                                 Check if this is an
  (If known)
                                                                                                                                                 amended filing



                                  106C
Schedule C: The Property You Claim as Exempt
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
       You are claiming state and federal nonbankruptcy exemptions.                 11 U.S.C. § 522(b)(3)
           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)


 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on         Current value of the        Amount of the exemption you claim        Specific laws that allow exemption
       Schedule A/B that lists this property                 portion you own
                                                             Copy the value from         Check only one box for each exemption.
                                                             Schedule A/B

      Brief
                                  
                              _________________________       
                                                             $________________                $ ____________                         
                                                                                                                                  ____________________________
      description:                                                                                                                ____________________________
                                                                                           100% of fair market value, up to        
                                                                                                                                  ____________________________
      Line from
      Schedule A/B:           
                              ______                                                          any applicable statutory limit      ____________________________


      Brief                                                                                                                       ____________________________
                                                                                                                                     
      description:              
                              _________________________       
                                                             $________________                 
                                                                                              $ ____________                      ____________________________
                                                                                              100% of fair market value, up to      
                                                                                                                                  ____________________________
      Line from
                              
                              ______                                                          any applicable statutory limit      ____________________________
      Schedule A/B:

      Brief                                                                                                                       ____________________________
                                                                                                                                     
      description:
                                
                              _________________________       
                                                             $________________                 
                                                                                              $ ____________                      ____________________________
                                                                                              100% of fair market value, up to      
                                                                                                                                  ____________________________
      Line from
                                                                                              any applicable statutory limit      ____________________________
      Schedule A/B:           
                              ______


 3. Are you claiming a homestead exemption of more than $1                      75?
     (Subject to adjustment on 4/01/1 and every 3 years after that for cases filed on or after the date of adjustment.)

           No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                  Yes



Official Form 106C                                           Schedule C: The Property You Claim as Exempt                                                       
                                                                                                                                                      page 1 of __
                                   Case 16-19213-AJC              Doc 1        Filed 06/29/16          Page 22 of 61
Debtor 1                                   
             _______________________________________________________                          Case number (if known)_____________________________________
             First Name        Middle Name      Last Name




 Part 2:    Additional Page

      Brief description of the property and line        Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      on Schedule A/B that lists this property          portion you own
                                                        Copy the value from    Check only one box for each exemption
                                                        Schedule A/B

     Brief
                             
                          _________________________                                
                                                                                 $ ____________                          
                                                                                                                       ____________________________
                                                        $________________
     description:                                                                                                        
                                                                                                                       ____________________________
                                                                                  100% of fair market value, up to     ____________________________
     Line from            
                          ______
                                                                                  any applicable statutory limit       ____________________________
     Schedule A/B:
     Brief                                                                                                                
                                                                                                                       ____________________________
     description:          
                          _________________________                
                                                        $________________                 
                                                                                 $ ____________                       ____________________________
                                                                                                                         
                                                                                  100% of fair market value, up to     ____________________________
     Line from
     Schedule A/B:
                          
                          ______                                                  any applicable statutory limit       ____________________________


     Brief
                            
                          _________________________                                
                                                                                 $ ____________                          
                                                                                                                       ____________________________
     description:                                       $________________                                              ____________________________
                                                                                                                         
                                                                                  100% of fair market value, up to     ____________________________
     Line from            
                          ______                                                  any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             ____________________________
                          _________________________     $________________         $ ____________
     description:                                                                                                      ____________________________
                                                                                  100% of fair market value, up to     ____________________________
     Line from            ______
                                                                                  any applicable statutory limit       ____________________________
     Schedule A/B:
     Brief                                                                                                             ____________________________
                          _________________________     $________________         $ ____________
     description:                                                                                                      ____________________________
                                                                                  100% of fair market value, up to     ____________________________
     Line from
                          ______                                                  any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             ____________________________
                          _________________________     $________________         $ ____________
     description:                                                                                                      ____________________________
                                                                                  100% of fair market value, up to     ____________________________
     Line from            ______                                                  any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             ____________________________
                          _________________________     $________________         $ ____________
     description:                                                                                                      ____________________________
                                                                                  100% of fair market value, up to     ____________________________
     Line from            ______
                                                                                  any applicable statutory limit       ____________________________
     Schedule A/B:
     Brief                                                                                                             ____________________________
                          _________________________     $________________         $ ____________
     description:                                                                                                      ____________________________
                                                                                  100% of fair market value, up to     ____________________________
     Line from
                          ______                                                  any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             ____________________________
                          _________________________     $________________         $ ____________
     description:                                                                                                      ____________________________
                                                                                  100% of fair market value, up to     ____________________________
     Line from            ______                                                  any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             ____________________________
                          _________________________     $________________         $ ____________
     description:                                                                                                      ____________________________
     Line from                                                                    100% of fair market value, up to     ____________________________
                          ______
                                                                                  any applicable statutory limit       ____________________________
     Schedule A/B:
     Brief                                                                                                             ____________________________
                          _________________________     $________________         $ ____________
     description:                                                                                                      ____________________________
     Line from                                                                    100% of fair market value, up to     ____________________________
                          ______                                                  any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             ____________________________
                          _________________________     $________________         $ ____________
     description:                                                                                                      ____________________________
                                                                                  100% of fair market value, up to     ____________________________
     Line from            ______                                                  any applicable statutory limit       ____________________________
     Schedule A/B:


                                                      Schedule C: The Property You Claim as Exempt                                             of __
                                                                                                                                         page ___  
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Fill in this information to identify your case:

 Debtor 1                                         
                    __________________________________________________________________
                     First Name                   Middle Name                  Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                   Middle Name                  Last Name


 United States Bankruptcy Court for the:  
                                         __________         
                                                     District of __________

 Case number         ___________________________________________
 (If known)                                                                                                                                                  Check if this is an
                                                                                                                                                             amended filing


          106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
            Yes. Fill in all of the information below.


Part 1:          List All Secured Claims
                                                                                                                           Column A               Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately                    Amount of claim        Value of collateral   Unsecured
      for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.                Do not deduct the      that supports this    portion
      As much as possible, list the claims in alphabetical order according to the creditor’s name.                         value of collateral.   claim                 If any

2.1
                                                       Describe the property that secures the claim:                         $________________
                                                                                                                           $_________________   $____________
                                                                                                                                                                  
      ______________________________________
      Creditor’s Name
          
      ______________________________________
                                                                 
      Number            Street

                                                           As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                                Contingent
                    
      ______________________________________                   Unliquidated
      City                          State   ZIP Code            Disputed
  Who owes the debt? Check one.                            Nature of lien. Check all that apply.
        Debtor 1 only                                          An agreement you made (such as mortgage or secured
        Debtor 2 only                                           car loan)
        Debtor 1 and Debtor 2 only                              Statutory lien (such as tax lien, mechanic’s lien)
       At least one of the debtors and another                 Judgment lien from a lawsuit
                                                                Other (including a right to offset) ____________________
     Check if this claim relates to a
     community debt
                           
  Date debt was incurred ____________                                                        ___
                                                           Last 4 digits of account number ___  ___
                                                                                                   ___
                                                                                                     
2.2
                                                           Describe the property that secures the claim:                   $_________________ $________________ $____________
      ______________________________________
      Creditor’s Name

      ______________________________________
      Number            Street

                                                           As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                                Contingent
      ______________________________________                    Unliquidated
      City                          State   ZIP Code            Disputed
  Who owes the debt? Check one.                            Nature of lien. Check all that apply.
        Debtor 1 only                                           An agreement you made (such as mortgage or secured
        Debtor 2 only                                           car loan)
        Debtor 1 and Debtor 2 only                              Statutory lien (such as tax lien, mechanic’s lien)
        At least one of the debtors and another                 Judgment lien from a lawsuit
                                                                Other (including a right to offset) ____________________
        Check if this claim relates to a
        community debt
  Date debt was incurred ____________                      Last 4 digits of account number ___ ___ ___ ___
      Add the dollar value of your entries in Column A on this page. Write that number here:                                    
                                                                                                                           $________________


   fficial Form 106D                               Schedule D: Creditors Who Have Claims Secured by Property                                                             
                                                                                                                                                               page 1 of ___
                                   Case 16-19213-AJC                    Doc 1           Filed 06/29/16                 Page 24 of 61
Debtor 1                                     
                _______________________________________________________                                       Case number (if known)_____________________________________
                 First Name     Middle Name         Last Name




             Additional Page                                                                                           Column A               Column B              Column C
Part 1:                                                                                                                Amount of claim        Value of collateral   Unsecured
             After listing any entries on this page, number them beginning with 2.3, followed                                                 that supports this    portion
                                                                                                                       Do not deduct the
             by 2.4, and so forth.                                                                                     value of collateral.   claim                 If any

   ______________________________________           Describe the property that secures the claim:                     $_________________ $________________ $____________
   Creditor’s Name

   ______________________________________
   Number            Street

   ______________________________________           As of the date you file, the claim is: Check all that apply.

   ______________________________________                Contingent
   City                         State    ZIP Code        Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
      Debtor 1 only                                      An agreement you made (such as mortgage or secured
      Debtor 2 only                                      car loan)
      Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic’s lien)
      At least one of the debtors and another            Judgment lien from a lawsuit
                                                         Other (including a right to offset) ____________________
      Check if this claim relates to a
      community debt

 Date debt was incurred ____________                Last 4 digits of account number ___ ___ ___ ___


   ______________________________________           Describe the property that secures the claim:                     $_________________ $________________ $____________
   Creditor’s Name

   ______________________________________
   Number            Street

                                                    As of the date you file, the claim is: Check all that apply.
   ______________________________________
                                                         Contingent
   ______________________________________                Unliquidated
   City                         State    ZIP Code
                                                         Disputed
 Who owes the debt? Check one.
                                                    Nature of lien. Check all that apply.
      Debtor 1 only
                                                         An agreement you made (such as mortgage or secured
      Debtor 2 only                                      car loan)
      Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic’s lien)
      At least one of the debtors and another            Judgment lien from a lawsuit
                                                         Other (including a right to offset) ____________________
      Check if this claim relates to a
      community debt

 Date debt was incurred ____________                Last 4 digits of account number ___ ___ ___ ___


   ______________________________________           Describe the property that secures the claim:                     $_________________ $________________ $____________
   Creditor’s Name

   ______________________________________
   Number            Street

   ______________________________________           As of the date you file, the claim is: Check all that apply.

   ______________________________________                Contingent
   City                         State    ZIP Code        Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
      Debtor 1 only                                      An agreement you made (such as mortgage or secured
      Debtor 2 only                                      car loan)
      Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic’s lien)
      At least one of the debtors and another            Judgment lien from a lawsuit
                                                         Other (including a right to offset) ____________________
      Check if this claim relates to a
      community debt
 Date debt was incurred ____________                Last 4 digits of account number ___ ___ ___ ___

                                                                                                              
           Add the dollar value of your entries in Column A on this page. Write that number here: $_________________
           If this is the last page of your form, add the dollar value totals from all pages.                               
           Write that number here:                                                                                     $_________________

                                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                             of ___
                                                                                                                                                           page ___  
                               Case 16-19213-AJC                  Doc 1        Filed 06/29/16            Page 25 of 61
Debtor 1                                  
             _______________________________________________________                            Case number (if known)_____________________________________
              First Name     Middle Name        Last Name


  Part 2:      List Others to Be Notified for a Debt That You Already Listed

  Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
  agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
  you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
  be notified for any debts in Part 1, do not fill out or submit this page.

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                                                   ___
                                                                                           Last 4 digits of account number ___  ___
                                                                                                                                   ___
                                                                                                                                     
      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code



                                           Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                               page      
                                                                                                                                                  ___ of ___
                                         Case 16-19213-AJC                    Doc 1         Filed 06/29/16               Page 26 of 61
  Fill in this information to identify your case:

      Debtor 1                                        
                        __________________________________________________________________
                          First Name                   Middle Name              Last Name

      Debtor 2            ________________________________________________________________
      (Spouse, if filing) First Name                   Middle Name              Last Name


                                               
      United States Bankruptcy Court for the: __________         of
                                                          District 
                                                                      __________
                                                                                                                                                           Check if this is an
      Case number         ___________________________________________
      (If known)                                                                                                                                           amended filing


           106E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contract s on Schedule
 A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).

 Part 1:               List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?
             No. Go to Part 2.
              Yes.
 2.      List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
         each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
         nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
         unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
         (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                       Total claim    Priority     Nonpriority
                                                                                                                                                      amount       amount
2.1
           ____________________________________________                Last 4 digits of account number ___ ___ ___ ___            $_____________ $___________ $____________
           Priority Creditor’s Name

           ____________________________________________                When was the debt incurred?          ____________
           Number            Street
           ____________________________________________
                                                                       As of the date you file, the claim is: Check all that apply.
           ____________________________________________                    Contingent
           City                                State    ZIP Code
                                                                           Unliquidated
           Who incurred the debt? Check one.
                                                                           Disputed
                  Debtor 1 only
                  Debtor 2 only                                        Type of PRIORITY unsecured claim:
                  Debtor 1 and Debtor 2 only
                                                                           Domestic support obligations
                  At least one of the debtors and another
                                                                           Taxes and certain other debts you owe the government
                  Check if this claim is for a community debt              Claims for death or personal injury while you were
           Is the claim subject to offset?                                 intoxicated
                  No                                                       Other. Specify _________________________________
                  Yes
2.2
           ____________________________________________                Last 4 digits of account number ___ ___ ___ ___                $_____________ $___________ $____________
           Priority Creditor’s Name
                                                                       When was the debt incurred?          ____________
           ____________________________________________
           Number            Street
           ____________________________________________                As of the date you file, the claim is: Check all that apply.
                                                                           Contingent
           ____________________________________________
           City                                State    ZIP Code           Unliquidated
           Who incurred the debt? Check one.                               Disputed
                  Debtor 1 only
                                                                       Type of PRIORITY unsecured claim:
                  Debtor 2 only
                                                                           Domestic support obligations
                  Debtor 1 and Debtor 2 only
                                                                           Taxes and certain other debts you owe the government
                  At least one of the debtors and another
                                                                           Claims for death or personal injury while you were
                  Check if this claim is for a community debt              intoxicated
           Is the claim subject to offset?                                 Other. Specify _________________________________
                  No
                  Yes


 Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                                      
                                                                                                                                                             page 1 of ___
Debtor 1                   Case 16-19213-AJC           Doc 1
                   _______________________________________________________
                                                                                       Filed 06/29/16     Page 27 of 61
                                                                                                  Case number (if known)_____________________________________
                   First Name    Middle Name          Last Name


Part 1:           Your PRIORITY Unsecured Claims                   Continuation Page

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                           Total claim   Priority     Nonpriority
                                                                                                                                               amount       amount


     ____________________________________________                 Last 4 digits of account number ___ ___ ___ ___                $____________ $__________ $____________
     Priority Creditor’s Name

     ____________________________________________                 When was the debt incurred?          ____________
     Number             Street

     ____________________________________________                 As of the date you file, the claim is: Check all that apply.

                                                                      Contingent
     ____________________________________________
     City                                State   ZIP Code             Unliquidated
                                                                      Disputed
     Who incurred the debt? Check one.
            Debtor 1 only                                         Type of PRIORITY unsecured claim:
            Debtor 2 only
                                                                      Domestic support obligations
            Debtor 1 and Debtor 2 only
                                                                      Taxes and certain other debts you owe the government
            At least one of the debtors and another
                                                                      Claims for death or personal injury while you were
                                                                      intoxicated
            Check if this claim is for a community debt
                                                                      Other. Specify _________________________________

     Is the claim subject to offset?
            No
            Yes


     ____________________________________________                 Last 4 digits of account number ___ ___ ___ ___                $____________ $__________ $____________
     Priority Creditor’s Name

     ____________________________________________                 When was the debt incurred?          ____________
     Number             Street

     ____________________________________________                 As of the date you file, the claim is: Check all that apply.

                                                                      Contingent
     ____________________________________________
     City                                State   ZIP Code             Unliquidated
                                                                      Disputed
     Who incurred the debt? Check one.
            Debtor 1 only                                         Type of PRIORITY unsecured claim:
            Debtor 2 only
                                                                      Domestic support obligations
            Debtor 1 and Debtor 2 only
                                                                      Taxes and certain other debts you owe the government
            At least one of the debtors and another
                                                                      Claims for death or personal injury while you were
                                                                      intoxicated
            Check if this claim is for a community debt
                                                                      Other. Specify _________________________________

     Is the claim subject to offset?
            No
            Yes


     ____________________________________________                 Last 4 digits of account number ___ ___ ___ ___                $____________ $__________ $____________
     Priority Creditor’s Name

     ____________________________________________                 When was the debt incurred?          ____________
     Number             Street

     ____________________________________________                 As of the date you file, the claim is: Check all that apply.

                                                                      Contingent
     ____________________________________________
     City                                State   ZIP Code             Unliquidated
                                                                      Disputed
     Who incurred the debt? Check one.
            Debtor 1 only                                         Type of PRIORITY unsecured claim:
            Debtor 2 only
                                                                      Domestic support obligations
            Debtor 1 and Debtor 2 only
                                                                      Taxes and certain other debts you owe the government
            At least one of the debtors and another
                                                                      Claims for death or personal injury while you were
                                                                      intoxicated
            Check if this claim is for a community debt
                                                                      Other. Specify _________________________________

     Is the claim subject to offset?
            No
            Yes


                                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                        of ___
                                                                                                                                                           page __   
 Debtor 1                   Case 16-19213-AJC           Doc 1
                    _______________________________________________________
                                                                                    Filed 06/29/16     Page 28 of 61
                                                                                               Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Part 2:           List All of Your NONPRIORITY Unsecured Claims

 3. Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
           Yes

 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
4.1
                                                                                                         ___
                                                                                  Last 4 digits of account number ___  ___
                                                                                                                          ___
                                                                                                                            
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                                                                                                     
                                                                                                                                                           $__________________
                                                                                  When was the debt incurred?            
                                                                                                                         ____________
         
       _____________________________________________________________
       Number            Street

                                         
       _____________________________________________________________
       City                                             State          ZIP Code   As of the date you file, the claim is: Check all that apply.

                                                                                       Contingent
       Who incurred the debt? Check one.                                              Unliquidated
             Debtor 1 only                                                            Disputed
              Debtor 2 only
              Debtor 1 and Debtor 2 only                                          Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                                  Student loans

              Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
       Is the claim subject to offset?                                                 Debts to pension or profit-sharing plans, and other similar debts
             No                                                                                       
                                                                                       Other. Specify ______________________________________
              Yes

4.2                                                                                                    ___
                                                                                  Last 4 digits of account number ___  ___
                                                                                                                          ___
                                                                                                                                                                    
                                                                                                                                                           $__________________
       _____________________________________________________________
       Nonpriority Creditor’s Name                                                When was the debt incurred?            
                                                                                                                         ____________
          
       _____________________________________________________________
       Number            Street
                                                                As of the date you file, the claim is: Check all that apply.
       _____________________________________________________________
       City                                             State          ZIP Code
                                                                                       Contingent
       Who incurred the debt? Check one.                                              Unliquidated
             Debtor 1 only
                                                                                       Disputed

              Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
              Debtor 1 and Debtor 2 only
              At least one of the debtors and another                                  Student loans
                                                                                       Obligations arising out of a separation agreement or divorce
              Check if this claim is for a community debt                              that you did not report as priority claims
       Is the claim subject to offset?                                                 Debts to pension or profit-sharing plans, and other similar debts
             No
                                                                                                       
                                                                                       Other. Specify ______________________________________

              Yes

4.3
          
       _____________________________________________________________                                                 ___
                                                                                  Last 4 digits of account number ___    ___
                                                                                                                             ___
                                                                                                                                                                    
       Nonpriority Creditor’s Name                                                                                                                         $_________________
                                                                                  When was the debt incurred?             
                                                                                                                         ____________
          
       _____________________________________________________________
       Number            Street
                                          
       _____________________________________________________________              As of the date you file, the claim is: Check all that apply.
       City                                             State          ZIP Code
                                                                                       Contingent
       Who incurred the debt? Check one.
                                                                                      Unliquidated
         Debtor 1 only                                                                Disputed
              Debtor 2 only
              Debtor 1 and Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
                                                                                       Student loans
              Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
       Is the claim subject to offset?
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
         No                                                                                           
                                                                                       Other. Specify ______________________________________
              Yes




                                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                     page
                                                                                                                                                                       __ of 
                                                                                                                                                                             ___
Debtor 1                   Case 16-19213-AJC           Doc 1
                   _______________________________________________________
                                                                                       Filed 06/29/16     Page 29 of 61
                                                                                                  Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name



 Part 2:        Your NONPRIORITY Unsecured Claims                            Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                         Total claim


                                                                                                                       ___
                                                                                                                             ___
                                                                                                                                ___
                                                                                                                                  
        
      _____________________________________________________________
                                                                                        Last 4 digits of account number ___                                          
                                                                                                                                                                $____________
      Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?           
                                                                                                                              ____________
         
      _____________________________________________________________
      Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
                                         
      _____________________________________________________________
      City                                             State          ZIP Code              Contingent
                                                                                           Unliquidated
      Who incurred the debt? Check one.                                                     Disputed
       Debtor 1 only
             Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                            Student loans
             At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                            Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                                      
                                                                                            Other. Specify________________________________
       No
             Yes




                                                                                                              ___
                                                                                        Last 4 digits of account number ___  ___
                                                                                                                                ___
                                                                                                                                                                    
                                                                                                                                                                $____________
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?           
                                                                                                                              ____________
         
      _____________________________________________________________
      Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
                                         
      _____________________________________________________________
      City                                             State          ZIP Code              Contingent
                                                                                           Unliquidated
      Who incurred the debt? Check one.                                                     Disputed
       Debtor 1 only
             Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                            Student loans
             At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                            Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                                      
                                                                                            Other. Specify________________________________
       No
             Yes


                                                                                                                                                                  
                                                                                                                                                                $____________
                                                                                                        ___
                                                                                        Last 4 digits of account number ___  ___
                                                                                                                                ___
                                                                                                                                  
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?          
                                                                                                                             ____________
         
      _____________________________________________________________
      Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
                                           
      _____________________________________________________________
      City                                             State          ZIP Code              Contingent
                                                                                           Unliquidated
      Who incurred the debt? Check one.                                                     Disputed
       Debtor 1 only
             Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                            Student loans
             At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                            Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                                      
                                                                                            Other. Specify________________________________
       No
             Yes




                                                           Schedule E/F: Creditors Who Have Unsecured Claims                                                    page      
                                                                                                                                                                      __ of ___
Debtor 1                   Case 16-19213-AJC           Doc 1
                   _______________________________________________________
                                                                                       Filed 06/29/16     Page 30 of 61
                                                                                                  Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name



 Part 2:        Your NONPRIORITY Unsecured Claims                            Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                         Total claim


                                                                                                                       ___
                                                                                                                             ___
                                                                                                                                ___
                                                                                                                                  
         
      _____________________________________________________________
                                                                                        Last 4 digits of account number ___                                        
                                                                                                                                                                $____________
      Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?           
                                                                                                                              ____________
         
      _____________________________________________________________
      Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
                                          
      _____________________________________________________________
      City                                             State          ZIP Code              Contingent
                                                                                           Unliquidated
      Who incurred the debt? Check one.                                                     Disputed
       Debtor 1 only
             Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                            Student loans
             At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                            Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                                      
                                                                                            Other. Specify________________________________
       No
             Yes




                                                                                                             ___
                                                                                        Last 4 digits of account number ___  ___
                                                                                                                                ___
                                                                                                                                                                    
                                                                                                                                                                $____________
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?           
                                                                                                                              ____________
         
      _____________________________________________________________
      Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
                                           
      _____________________________________________________________
      City                                             State          ZIP Code              Contingent
                                                                                           Unliquidated
      Who incurred the debt? Check one.                                                     Disputed
       Debtor 1 only
             Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                            Student loans
             At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                            Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                                      
                                                                                            Other. Specify________________________________
       No
             Yes


                                                                                                                                                             $____________
                                                                                                            ___
                                                                                        Last 4 digits of account number ___  ___
                                                                                                                                ___
                                                                                                                                  
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?          
                                                                                                                             ____________
         
      _____________________________________________________________
      Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
                                        
      _____________________________________________________________
      City                                             State          ZIP Code              Contingent
                                                                                           Unliquidated
      Who incurred the debt? Check one.                                                     Disputed
       Debtor 1 only
             Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                            Student loans
             At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                            Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                                      
                                                                                            Other. Specify________________________________
       No
             Yes




                                                           Schedule E/F: Creditors Who Have Unsecured Claims                                                    page      
                                                                                                                                                                      __ of ___
Debtor 1                  Case 16-19213-AJC           Doc 1
                  _______________________________________________________
                                                                                      Filed 06/29/16     Page 31 of 61
                                                                                                 Case number (if known)_____________________________________
                  First Name       Middle Name           Last Name



Part 2:        Your NONPRIORITY Unsecured Claims                            Continuation Page


After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                         Total claim


                                                                                                                       ___
                                                                                                                            ___
                                                                                                                               ___
                                                                                                                                 
        
     _____________________________________________________________
                                                                                       Last 4 digits of account number ___                                        
                                                                                                                                                               $____________
     Nonpriority Creditor’s Name
                                                                                       When was the debt incurred?           
                                                                                                                             ____________
        
     _____________________________________________________________
     Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
                                         
     _____________________________________________________________
     City                                             State          ZIP Code              Contingent
                                                                                          Unliquidated
     Who incurred the debt? Check one.                                                     Disputed
       Debtor 1 only
            Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                           Student loans
            At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
            Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
     Is the claim subject to offset?                                                                      
                                                                                           Other. Specify________________________________
       No
            Yes




                                                                                                    ___
                                                                                       Last 4 digits of account number ___  ___
                                                                                                                               ___
                                                                                                                                                                 
                                                                                                                                                               $____________
     _____________________________________________________________
     Nonpriority Creditor’s Name
                                                                                       When was the debt incurred?           
                                                                                                                             ____________
        
     _____________________________________________________________
     Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
                                         
     _____________________________________________________________
     City                                             State          ZIP Code              Contingent
                                                                                          Unliquidated
     Who incurred the debt? Check one.                                                     Disputed
       Debtor 1 only
            Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                           Student loans
            At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
            Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
     Is the claim subject to offset?                                                                        
                                                                                           Other. Specify________________________________
       No
            Yes


                                                                                                                                                                
                                                                                                                                                               $____________
                                                                                                              ___
                                                                                       Last 4 digits of account number ___  ___
                                                                                                                               ___
                                                                                                                                 
     _____________________________________________________________
     Nonpriority Creditor’s Name
                                                                                       When was the debt incurred?          
                                                                                                                            ____________
        
     _____________________________________________________________
     Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
     _____________________________________________________________
     City                                             State          ZIP Code              Contingent
                                                                                          Unliquidated
     Who incurred the debt? Check one.                                                     Disputed
       Debtor 1 only
            Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                           Student loans
            At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
            Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
     Is the claim subject to offset?                                                                      
                                                                                           Other. Specify________________________________
       No
            Yes




                                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                    page      
                                                                                                                                                                     __ of ___
Debtor 1                  Case 16-19213-AJC           Doc 1
                  _______________________________________________________
                                                                                      Filed 06/29/16     Page 32 of 61
                                                                                                 Case number (if known)_____________________________________
                  First Name       Middle Name           Last Name



Part 2:        Your NONPRIORITY Unsecured Claims                            Continuation Page


After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                         Total claim


                                                                                                                       ___
                                                                                                                            ___
                                                                                                                               ___
                                                                                                                                 
                                                                                       Last 4 digits of account number ___
      
     _____________________________________________________________                                                                                             $____________
     Nonpriority Creditor’s Name
                                                                                       When was the debt incurred?           
                                                                                                                             ____________
        
     _____________________________________________________________
     Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
                                           
     _____________________________________________________________
     City                                             State          ZIP Code              Contingent
                                                                                          Unliquidated
     Who incurred the debt? Check one.                                                     Disputed
       Debtor 1 only
            Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                           Student loans
            At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
            Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
     Is the claim subject to offset?                                                                      
                                                                                           Other. Specify________________________________
       No
            Yes




                                                                                                       ___
                                                                                       Last 4 digits of account number ___  ___
                                                                                                                               ___
                                                                                                                                                                 
                                                                                                                                                               $____________
     _____________________________________________________________
     Nonpriority Creditor’s Name
                                                                                       When was the debt incurred?           
                                                                                                                             ____________
        
     _____________________________________________________________
     Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
                                         
     _____________________________________________________________
     City                                             State          ZIP Code              Contingent
                                                                                          Unliquidated
     Who incurred the debt? Check one.                                                     Disputed
       Debtor 1 only
            Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                           Student loans
            At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
            Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
     Is the claim subject to offset?                                                                       
                                                                                           Other. Specify________________________________
       No
            Yes


                                                                                                                                                                
                                                                                                                                                               $____________
                                                                                                          ___
                                                                                       Last 4 digits of account number ___  ___
                                                                                                                               ___
                                                                                                                                 
     _____________________________________________________________
     Nonpriority Creditor’s Name
                                                                                       When was the debt incurred?          
                                                                                                                            ____________
        
     _____________________________________________________________
     Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
                                           
     _____________________________________________________________
     City                                             State          ZIP Code              Contingent
                                                                                           Unliquidated
     Who incurred the debt? Check one.                                                     Disputed
       Debtor 1 only
            Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                           Student loans
            At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
            Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
     Is the claim subject to offset?                                                                      
                                                                                           Other. Specify________________________________
       No
            Yes




                                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                    page      
                                                                                                                                                                     __ of ___
Debtor 1                  Case 16-19213-AJC           Doc 1
                  _______________________________________________________
                                                                                      Filed 06/29/16     Page 33 of 61
                                                                                                 Case number (if known)_____________________________________
                  First Name       Middle Name           Last Name



Part 2:        Your NONPRIORITY Unsecured Claims                            Continuation Page


After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                         Total claim


                                                                                                                       ___
                                                                                                                            ___
                                                                                                                               ___
                                                                                                                                 
         
     _____________________________________________________________
                                                                                       Last 4 digits of account number ___                                        
                                                                                                                                                               $____________
     Nonpriority Creditor’s Name
                                                                                       When was the debt incurred?           
                                                                                                                             ____________
        
     _____________________________________________________________
     Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
                                        
     _____________________________________________________________
     City                                             State          ZIP Code              Contingent
                                                                                          Unliquidated
     Who incurred the debt? Check one.                                                     Disputed
       Debtor 1 only
            Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                           Student loans
            At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
            Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
     Is the claim subject to offset?                                                                      
                                                                                           Other. Specify________________________________
       No
            Yes




                                                                                                               ___
                                                                                       Last 4 digits of account number ___  ___
                                                                                                                               ___
                                                                                                                                                                   
                                                                                                                                                               $____________
     _____________________________________________________________
     Nonpriority Creditor’s Name
                                                                                       When was the debt incurred?           
                                                                                                                             ____________
       
     _____________________________________________________________
     Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
                                             
     _____________________________________________________________
     City                                             State          ZIP Code              Contingent
                                                                                          Unliquidated
     Who incurred the debt? Check one.                                                     Disputed
       Debtor 1 only
            Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                           Student loans
            At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
            Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
     Is the claim subject to offset?                                                                      
                                                                                           Other. Specify________________________________
       No
            Yes


                                                                                                                                                             $____________
                                                                                            ___
                                                                                       Last 4 digits of account number ___  ___
                                                                                                                               ___
                                                                                                                                 
     _____________________________________________________________
     Nonpriority Creditor’s Name
                                                                                       When was the debt incurred?           ____________
        
     _____________________________________________________________
     Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
                                         
     _____________________________________________________________
     City                                             State          ZIP Code              Contingent
                                                                                          Unliquidated
     Who incurred the debt? Check one.                                                     Disputed
       Debtor 1 only
            Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                           Student loans
            At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
            Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
     Is the claim subject to offset?                                                                      
                                                                                           Other. Specify________________________________
       No
            Yes




                                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                    page      
                                                                                                                                                                     __ of ___
Debtor 1                  Case 16-19213-AJC           Doc 1
                  _______________________________________________________
                                                                                      Filed 06/29/16     Page 34 of 61
                                                                                                 Case number (if known)_____________________________________
                  First Name       Middle Name           Last Name



Part 2:        Your NONPRIORITY Unsecured Claims                            Continuation Page


After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                         Total claim


                                                                                                                       ___
                                                                                                                            ___
                                                                                                                               ___
                                                                                                                                 
                                                                                       Last 4 digits of account number ___
          
     _____________________________________________________________                                                                                             $____________
     Nonpriority Creditor’s Name
                                                                                       When was the debt incurred?           
                                                                                                                             ____________
         
     _____________________________________________________________
     Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
                                            
     _____________________________________________________________
     City                                             State          ZIP Code              Contingent
                                                                                          Unliquidated
     Who incurred the debt? Check one.                                                     Disputed
       Debtor 1 only
            Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                           Student loans
            At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
            Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
     Is the claim subject to offset?                                                                      
                                                                                           Other. Specify________________________________
       No
            Yes




                                                                                                                   ___
                                                                                       Last 4 digits of account number ___  ___
                                                                                                                               ___
                                                                                                                                                              $____________
     _____________________________________________________________
     Nonpriority Creditor’s Name
                                                                                       When was the debt incurred?           
                                                                                                                             ____________
        
     _____________________________________________________________
     Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
                                          
     _____________________________________________________________
     City                                             State          ZIP Code              Contingent
                                                                                          Unliquidated
     Who incurred the debt? Check one.                                                     Disputed
       Debtor 1 only
            Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                           Student loans
            At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
            Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
     Is the claim subject to offset?                                                                      
                                                                                           Other. Specify________________________________
       No
            Yes


                                                                                                                                                                
                                                                                                                                                               $____________
                                                                                                       ___
                                                                                       Last 4 digits of account number ___  ___
                                                                                                                               ___
                                                                                                                                 
     _____________________________________________________________
     Nonpriority Creditor’s Name
                                                                                       When was the debt incurred?          
                                                                                                                            ____________
        
     _____________________________________________________________
     Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
                                        
     _____________________________________________________________
     City                                             State          ZIP Code              Contingent
                                                                                          Unliquidated
     Who incurred the debt? Check one.                                                     Disputed
       Debtor 1 only
            Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                           Student loans
            At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
            Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
     Is the claim subject to offset?                                                                      
                                                                                           Other. Specify________________________________
       No
            Yes




                                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                    page      
                                                                                                                                                                     __ of ___
Debtor 1                  Case 16-19213-AJC           Doc 1
                  _______________________________________________________
                                                                                      Filed 06/29/16     Page 35 of 61
                                                                                                 Case number (if known)_____________________________________
                  First Name       Middle Name           Last Name



Part 2:        Your NONPRIORITY Unsecured Claims                            Continuation Page


After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                         Total claim


                                                                                                                       ___
                                                                                                                            ___
                                                                                                                               ___
                                                                                                                                 
                                                                                       Last 4 digits of account number ___
          
     _____________________________________________________________                                                                                             $____________
     Nonpriority Creditor’s Name
                                                                                       When was the debt incurred?           
                                                                                                                             ____________
       
     _____________________________________________________________
     Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
                                       
     _____________________________________________________________
     City                                             State          ZIP Code              Contingent
                                                                                          Unliquidated
     Who incurred the debt? Check one.                                                     Disputed
       Debtor 1 only
            Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                           Student loans
            At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
            Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
     Is the claim subject to offset?                                                                     
                                                                                           Other. Specify________________________________
       No
            Yes




                                                                                                 ___
                                                                                       Last 4 digits of account number ___  ___
                                                                                                                               ___
                                                                                                                                                                 
                                                                                                                                                               $____________
     _____________________________________________________________
     Nonpriority Creditor’s Name
                                                                                       When was the debt incurred?           
                                                                                                                             ____________
        
     _____________________________________________________________
     Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
                                           
     _____________________________________________________________
     City                                             State          ZIP Code              Contingent
                                                                                          Unliquidated
     Who incurred the debt? Check one.                                                     Disputed
       Debtor 1 only
            Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                           Student loans
            At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
            Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
     Is the claim subject to offset?                                                                     
                                                                                           Other. Specify________________________________
       No
            Yes


                                                                                                                                                                  
                                                                                                                                                               $____________
                                                                                                          ___
                                                                                       Last 4 digits of account number ___  ___
                                                                                                                               ___
                                                                                                                                 
     _____________________________________________________________
     Nonpriority Creditor’s Name
                                                                                       When was the debt incurred?          
                                                                                                                            ____________
         
     _____________________________________________________________
     Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
                                             
     _____________________________________________________________
     City                                             State          ZIP Code              Contingent
                                                                                          Unliquidated
     Who incurred the debt? Check one.                                                     Disputed
       Debtor 1 only
            Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                           Student loans
            At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
            Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
     Is the claim subject to offset?                                                                      
                                                                                           Other. Specify________________________________
       No
            Yes




                                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                    page     
                                                                                                                                                                    __ of ___
Debtor 1                  Case 16-19213-AJC           Doc 1
                  _______________________________________________________
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                                                                                                 Case number (if known)_____________________________________
                  First Name       Middle Name           Last Name



Part 2:          Your NONPRIORITY Unsecured Claims                          Continuation Page


After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                         Total claim


                                                                                                                       ___
                                                                                                                            ___
                                                                                                                               ___
                                                                                                                                 
      
     _____________________________________________________________
                                                                                       Last 4 digits of account number ___                                        
                                                                                                                                                               $____________
     Nonpriority Creditor’s Name
                                                                                       When was the debt incurred?           
                                                                                                                             ____________
         
     _____________________________________________________________
     Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
                                           
     _____________________________________________________________
     City                                             State          ZIP Code              Contingent
                                                                                          Unliquidated
     Who incurred the debt? Check one.                                                     Disputed
       Debtor 1 only
            Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                           Student loans
            At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
            Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
     Is the claim subject to offset?                                                                     
                                                                                           Other. Specify________________________________
       No
            Yes




                                                                                       Last 4 digits of account number ___ ___ ___ ___                         $____________
     _____________________________________________________________
     Nonpriority Creditor’s Name
                                                                                       When was the debt incurred?           ____________
     _____________________________________________________________
     Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
     _____________________________________________________________
     City                                             State          ZIP Code              Contingent
                                                                                           Unliquidated
     Who incurred the debt? Check one.                                                     Disputed
            Debtor 1 only
            Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                           Student loans
            At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
            Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
     Is the claim subject to offset?                                                       Other. Specify________________________________
            No
            Yes


                                                                                                                                                               $____________
                                                                                       Last 4 digits of account number ___ ___ ___ ___
     _____________________________________________________________
     Nonpriority Creditor’s Name
                                                                                       When was the debt incurred?           ____________
     _____________________________________________________________
     Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
     _____________________________________________________________
     City                                             State          ZIP Code              Contingent
                                                                                           Unliquidated
     Who incurred the debt? Check one.                                                     Disputed
            Debtor 1 only
            Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                           Student loans
            At least one of the debtors and another
                                                                                           Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
            Check if this claim is for a community debt
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
     Is the claim subject to offset?                                                       Other. Specify________________________________
            No
            Yes




                                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                    page     
                                                                                                                                                                    __ of ___
Debtor 1            Case 16-19213-AJC
                                                      Doc 1
            _______________________________________________________
                                                                              Filed 06/29/16     Page 37 of 61
                                                                                         Case number (if known)_____________________________________
               First Name    Middle Name          Last Name



Part 4:    Add the Amounts for Each Type of Unsecured Claim


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
    Add the amounts for each type of unsecured claim.




                                                                                        Total claim



Total claims
                6a. Domestic support obligations                                6a.                          
                                                                                        $_________________________
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                                  6b.                          
                                                                                        $_________________________

                6c. Claims for death or personal injury while you were
                    intoxicated                                                 6c.                          
                                                                                        $_________________________

                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                                     6d.                          
                                                                                      + $_________________________

                6e. Total. Add lines 6a through 6d.                             6e.
                                                                                                             
                                                                                        $_________________________



                                                                                        Total claim

                6f. Student loans                                               6f.                          
Total claims                                                                             $_________________________
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                      6g.                          
                                                                                         $_________________________

                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                               6h.                          
                                                                                        $_________________________

                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                     6i.                 
                                                                                      + $_________________________

                6j. Total. Add lines 6f through 6i.                             6j.
                                                                                                     
                                                                                         $_________________________




                                                      Schedule E/F: Creditors Who Have Unsecured Claims                                    page     
                                                                                                                                                __ of ___
                                    Case 16-19213-AJC                Doc 1       Filed 06/29/16            Page 38 of 61

 Fill in this information to identify your case:

 Debtor                                           
                      __________________________________________________________________
                       First Name             Middle Name            Last Name

 Debtor 2              ________________________________________________________________
 (Spouse If filing)    First Name             Middle Name            Last Name


                                          
 United States Bankruptcy Court for the: __________ District
                                                            of 
                                                               ________

 Case number           ___________________________________________
  (If known)                                                                                                                                Check if this is an
                                                                                                                                            amended filing


          106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



      Person or company with whom you have the contract or lease                               State what the contract or lease is for


2.1
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.2
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.3
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.4
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.5
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code


Official Form 106G                             Schedule G: Executory Contracts and Unexpired Leases                                                     
                                                                                                                                              page 1 of ___
                            Case 16-19213-AJC              Doc 1       Filed 06/29/16       Page 39 of 61
Debtor 1                               
             _______________________________________________________               Case number (if known)_____________________________________
             First Name   Middle Name       Last Name




            Additional Page if You Have More Contracts or Leases

      Person or company with whom you have the contract or lease                What the contract or lease is for

  
2._
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2._
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2._
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code


2._
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code


2._
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code


2._
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code


2._
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code


2._
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code



                                        Schedule G: Executory Contracts and Unexpired Leases                                  page       
                                                                                                                                   ___ of ___
                                        Case 16-19213-AJC                      Doc 1        Filed 06/29/16      Page 40 of 61
 Fill in this information to identify your case:

 Debtor 1                                                  
                   __________________________________________________________________
                     First Name                     Middle Name                 Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                     Middle Name                 Last Name


                                          
 United States Bankruptcy Court for the: __________ District
                                                            of 
                                                               ________

 Case number         ____________________________________________
  (If known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing

          106H
Schedule H: Your Codebtors                                                                                                                               12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
          No
           Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                No
                Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.


                 ______________________________________________________________________
                 Name of your spouse, former spouse, or legal equivalent

                 ______________________________________________________________________
                 Number             Street

                 ______________________________________________________________________
                 City                                             State                     ZIP Code


 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                            Column 2: The creditor to whom you owe the debt

                                                                                                             Check all schedules that apply:
3.1
         ________________________________________________________________________________                        Schedule D, line ______
         Name
                                                                                                                 Schedule E/F, line ______
         ________________________________________________________________________________
         Number            Street                                                                                Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

3.2
         ________________________________________________________________________________                        Schedule D, line ______
         Name
                                                                                                                 Schedule E/F, line ______
         ________________________________________________________________________________
         Number            Street                                                                                Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

3.3
         ________________________________________________________________________________                        Schedule D, line ______
         Name
                                                                                                                 Schedule E/F, line ______
         ________________________________________________________________________________
         Number            Street                                                                                Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code



Official Form 106H                                                           Schedule H: Your Codebtors                                                   
                                                                                                                                                page 1 of ___
                                 Case 16-19213-AJC             Doc 1      Filed 06/29/16        Page 41 of 61
Debtor 1                                               
                _______________________________________________________                 Case number   (if known)_____________________________________
                First Name     Middle Name    Last Name




                Additional Page to List More Codebtors

      Column 1: Your codebtor                                                               Column 2: The creditor to whom you owe the debt

                                                                                             Check all schedules that apply:
3._
       ________________________________________________________________________________          Schedule D, line ______
       Name
                                                                                                 Schedule E/F, line ______
       ________________________________________________________________________________
       Number         Street                                                                     Schedule G, line ______

       ________________________________________________________________________________
       City                                        State                   ZIP Code

3._
       ________________________________________________________________________________          Schedule D, line ______
       Name
                                                                                                 Schedule E/F, line ______
       ________________________________________________________________________________
       Number         Street                                                                     Schedule G, line ______

       ________________________________________________________________________________
       City                                        State                   ZIP Code

3._
       ________________________________________________________________________________          Schedule D, line ______
       Name
                                                                                                 Schedule E/F, line ______
       ________________________________________________________________________________
       Number         Street                                                                     Schedule G, line ______

       ________________________________________________________________________________
       City                                        State                   ZIP Code

3._
       ________________________________________________________________________________          Schedule D, line ______
       Name
                                                                                                 Schedule E/F, line ______
       ________________________________________________________________________________
       Number         Street                                                                     Schedule G, line ______

       ________________________________________________________________________________
       City                                        State                   ZIP Code
3._
       ________________________________________________________________________________          Schedule D, line ______
       Name
                                                                                                 Schedule E/F, line ______
       ________________________________________________________________________________
       Number         Street                                                                     Schedule G, line ______

       ________________________________________________________________________________
       City                                        State                   ZIP Code

3._
       ________________________________________________________________________________          Schedule D, line ______
       Name
                                                                                                 Schedule E/F, line ______
       ________________________________________________________________________________
       Number         Street                                                                     Schedule G, line ______

       ________________________________________________________________________________
       City                                        State                   ZIP Code

3._
       ________________________________________________________________________________          Schedule D, line ______
       Name
                                                                                                 Schedule E/F, line ______
       ________________________________________________________________________________
       Number         Street                                                                     Schedule G, line ______

       ________________________________________________________________________________
       City                                        State                   ZIP Code
3._
       ________________________________________________________________________________          Schedule D, line ______
       Name
                                                                                                 Schedule E/F, line ______
       ________________________________________________________________________________
       Number         Street                                                                     Schedule G, line ______

       ________________________________________________________________________________
       City                                        State                   ZIP Code




                                                           Schedule H: Your Codebtors                                               page       
                                                                                                                                         ___ of ___
                                  Case 16-19213-AJC                Doc 1        Filed 06/29/16           Page 42 of 61

 Fill in this information to identify your case:


 Debtor 1                                                 
                    ____________________________________________________________________
                     First Name             Middle Name             Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name             Last Name


 United States Bankruptcy Court for the:  
                                         __________         
                                                      District of ___________

 Case number         ___________________________________________                                      Check if this is:
  (If known)
                                                                                                         An amended filing
                                                                                                         A supplement showing postpetition chapter 13
                                                                                                         income as of the following date:
                                                                                                         ________________
                           106I                                                                          MM / DD / YYYY

Schedule I: Your Income                                                                                                                            12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally re sponsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include informati on about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:           Describe Employment


1. Fill in your employment
    information.                                                          Debtor 1                                     Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with                                         Employed
    information about additional         Employment status                                                                  Employed
    employers.                                                             Not employed                                    Not employed
    Include part-time, seasonal, or
    self-employed work.
                                         Occupation                    
                                                                      __________________________________           
                                                                                                                   __________________________________
    Occupation may include student
    or homemaker, if it applies.
                                         Employer’s name             
                                                                     __________________________________            
                                                                                                                   __________________________________


                                         Employer’s address           
                                                                     _______________________________________       
                                                                                                                  ________________________________________
                                                                       Number Street                               Number    Street

                                                                     _______________________________________      ________________________________________

                                                                     _______________________________________      ________________________________________

                                                                     _______________________________________      ________________________________________
                                                                      City            State  ZIP Code               City                State ZIP Code

                                         How long employed there?         
                                                                          _______                                    
                                                                                                                     _______

 Part 2:           Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                 For Debtor 1       For Debtor 2 or
                                                                                                                    non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.          2.                              
                                                                                                $___________              $____________

 3. Estimate and list monthly overtime pay.                                               3.            
                                                                                               + $___________      +              
                                                                                                                          $____________


 4. Calculate gross income. Add line 2 + line 3.                                          4.       
                                                                                                $__________                       
                                                                                                                          $____________




Official Form 106I                                               Schedule I: Your Income                                                       page 1
                                        Case 16-19213-AJC                                 Doc 1              Filed 06/29/16            Page 43 of 61
Debtor 1                                              
                 _______________________________________________________                                                      Case number (if known)_____________________________________
                  First Name          Middle Name                 Last Name



                                                                                                                             For Debtor 1         For Debtor 2 or
                                                                                                                                                  non-filing spouse

   Copy line 4 here ...............................................................................................   4.          
                                                                                                                              $___________                     
                                                                                                                                                      $_____________

5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                                5a.          
                                                                                                                             $____________                     
                                                                                                                                                      $_____________
     5b. Mandatory contributions for retirement plans                                                                 5b.            
                                                                                                                             $____________                     
                                                                                                                                                      $_____________
     5c. Voluntary contributions for retirement plans                                                                 5c.            
                                                                                                                             $____________                     
                                                                                                                                                      $_____________
     5d. Required repayments of retirement fund loans                                                                 5d.            
                                                                                                                             $____________                     
                                                                                                                                                      $_____________
     5e. Insurance                                                                                                    5e.            
                                                                                                                             $____________                     
                                                                                                                                                      $_____________
     5f. Domestic support obligations                                                                                 5f.            
                                                                                                                             $____________                     
                                                                                                                                                      $_____________

     5g. Union dues                                                                                                   5g.            
                                                                                                                             $____________                     
                                                                                                                                                      $_____________

     5h. Other deductions. Specify: __________________________________                                                5h.             
                                                                                                                            + $____________       +            
                                                                                                                                                      $_____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                       6.           
                                                                                                                             $____________                     
                                                                                                                                                      $_____________

 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                               7.           
                                                                                                                             $____________                     
                                                                                                                                                      $_____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                                               
                                                                                                                             $____________            $_____________
           monthly net income.                                                                                        8a.
     8b. Interest and dividends                                                                                       8b.            
                                                                                                                             $____________                     
                                                                                                                                                      $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                                           
                                                                                                                             $____________            $_____________
           settlement, and property settlement.                                                                       8c.
     8d. Unemployment compensation                                                                                    8d.            
                                                                                                                             $____________                     
                                                                                                                                                      $_____________
     8e. Social Security                                                                                              8e.            
                                                                                                                             $____________                     
                                                                                                                                                      $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                            
                                                                                                                             $____________                     
                                                                                                                                                      $_____________

     8g. Pension or retirement income                                                                                 8g.            
                                                                                                                             $____________                     
                                                                                                                                                      $_____________

     8h. Other monthly income. Specify: _______________________________                                               8h.             
                                                                                                                            + $____________                  
                                                                                                                                                  + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                             9.             
                                                                                                                             $____________                     
                                                                                                                                                      $_____________

10. Calculate monthly income. Add line 7 + line 9.
                                                                                                                                 
                                                                                                                             $___________     +                
                                                                                                                                                      $_____________     =        
                                                                                                                                                                             $_____________
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                        10.

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                       11.   +            
                                                                                                                                                                             $_____________

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                             12.
                                                                                                                                                                                  
                                                                                                                                                                             $_____________
                                                                                                                                                                             Combined
                                                                                                                                                                             monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
          No.
           Yes. Explain:


                                                                                        Schedule I: Your Income                                                                page 2
                                      Case 16-19213-AJC                    Doc 1             Filed 06/29/16           Page 44 of 61

   Fill in this information to identify your case:

   Debtor 1                                                
                     __________________________________________________________________
                       First Name              Middle Name                  Last Name                           Check if this is:
   Debtor 2            ________________________________________________________________
   (Spouse, if filing) First Name              Middle Name                  Last Name
                                                                                                                    An amended filing
                                                                                                                    A supplement showing postpetition chapter 13
   United States Bankruptcy Court for the:  
                                           __________         
                                                       District of __________                                       expenses as of the following date:
                                                                                                                    ________________
   Case number         ___________________________________________                                                  MM / DD / YYYY
    (If known)




                                    106J
 Schedule J: Your Expenses                                                                                                                                     12/15

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name an d case number
 (if known). Answer every question.

  Part 1:            Describe Your Household

 1. Is this a joint case?

        No. Go to line 2.
         Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 2. Do you have dependents?                      No                                          Dependent’s relationship to              Dependent’s   Does dependent live
    Do not list Debtor 1 and                   Yes. Fill out this information for           Debtor 1 or Debtor 2                     age           with you?
    Debtor 2.                                    each dependent ..........................
                                                                                                                                                         No
    Do not state the dependents’                                                             
                                                                                             _________________________                 
                                                                                                                                      ________
    names.
                                                                                                                                                        Yes

                                                                                             _________________________                ________           No
                                                                                                                                                         Yes

                                                                                             _________________________                ________           No
                                                                                                                                                         Yes

                                                                                             _________________________                ________           No
                                                                                                                                                         Yes

                                                                                             _________________________                ________           No
                                                                                                                                                         Yes

 3. Do your expenses include                    No
    expenses of people other than
    yourself and your dependents?                Yes


 Part 2:         Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                   Your expenses

  4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                     
                                                                                                                                        $_____________________
      any rent for the ground or lot.                                                                                           4.

      If not included in line 4:
      4a.    Real estate taxes                                                                                                  4a.                      
                                                                                                                                        $_____________________

      4b.    Property, homeowner’s, or renter’s insurance                                                                       4b.                      
                                                                                                                                        $_____________________
      4c.    Home maintenance, repair, and upkeep expenses                                                                      4c.                      
                                                                                                                                        $_____________________

      4d.    Homeowner’s association or condominium dues                                                                        4d.                      
                                                                                                                                        $_____________________

Official Form 106J                                                Schedule J: Your Expenses                                                                page 1
                                  Case 16-19213-AJC                 Doc 1      Filed 06/29/16       Page 45 of 61

 Debtor 1                                             
                 _______________________________________________________                   Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




                                                                                                                      Your expenses

                                                                                                                                      
                                                                                                                     $_____________________
 5. Additional mortgage payments for your residence, such as home equity loans                                5.


 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                    6a.                   
                                                                                                                     $_____________________

      6b.   Water, sewer, garbage collection                                                                  6b.                   
                                                                                                                     $_____________________
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.                    
                                                                                                                     $_____________________

      6d.   Other. Specify: _______________________________________________                                   6d.                     
                                                                                                                     $_____________________

 7. Food and housekeeping supplies                                                                            7.                    
                                                                                                                     $_____________________

 8. Childcare and children’s education costs                                                                  8.                      
                                                                                                                     $_____________________

 9. Clothing, laundry, and dry cleaning                                                                       9.                     
                                                                                                                     $_____________________

10.   Personal care products and services                                                                     10.                    
                                                                                                                     $_____________________
11.   Medical and dental expenses                                                                             11.                     
                                                                                                                     $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                                    
                                                                                                                     $_____________________
      Do not include car payments.                                                                            12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.                     
                                                                                                                     $_____________________

14.   Charitable contributions and religious donations                                                        14.                     
                                                                                                                     $_____________________
                                                                                                                                                    1
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                     15a.                    
                                                                                                                     $_____________________
      15b. Health insurance                                                                                   15b.                    
                                                                                                                     $_____________________
      15c. Vehicle insurance                                                                                  15c.                    
                                                                                                                     $_____________________
      15d. Other insurance. Specify:_______________________________________                                   15d.                    
                                                                                                                     $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: ________________________________________________________                                       16.
                                                                                                                                      
                                                                                                                     $_____________________

17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                                         17a.                    
                                                                                                                     $_____________________

      17b. Car payments for Vehicle 2                                                                         17b.                    
                                                                                                                     $_____________________

      17c. Other. Specify:_______________________________________________                                     17c.                    
                                                                                                                     $_____________________

      17d. Other. Specify:_______________________________________________                                     17d.                    
                                                                                                                     $_____________________

18.   Your payments of alimony, maintenance, and support that you did not report as deducted from
      your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.                    
                                                                                                                     $_____________________

19.   Other payments you make to support others who do not live with you.
      Specify:_______________________________________________________                                          19.                    
                                                                                                                     $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                        20a.                    
                                                                                                                     $_____________________

      20b. Real estate taxes                                                                                  20b.                    
                                                                                                                     $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                       20c.                    
                                                                                                                     $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                           20d.                    
                                                                                                                     $_____________________

      20e. Homeowner’s association or condominium dues                                                        20e.                    
                                                                                                                     $_____________________



                                                               Schedule J: Your Expenses                                                   page 2
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 Debtor 1                                             
                 _______________________________________________________                        Case number (if known)_____________________________________
                 First Name    Middle Name        Last Name




21.    Other. Specify: _________________________________________________                                           21.                     
                                                                                                                         +$_____________________

22.    Calculate your monthly expenses.

       22a. Add lines 4 through 21.                                                                              22a.                  
                                                                                                                          $_____________________

       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                      22b.                       
                                                                                                                          $_____________________

       22c. Add line 22a and 22b. The result is your monthly expenses.                                           22c.                  
                                                                                                                          $_____________________



23. Calculate your monthly net income.
                                                                                                                                       
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.                 
                                                                                                                         – $_____________________
      23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                                          
                                                                                                                           $_____________________
             The result is your monthly net income.                                                               23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

         No.
          Yes.     Explain here:




                                                              Schedule J: Your Expenses                                                         page 3
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Fill in this information to identify your case:

Debtor 1                                        
                  __________________________________________________________________
                    First Name                  Middle Name          Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name                  Middle Name          Last Name


United States Bankruptcy Court for the:  
                                        __________         of
                                                    District 
                                                                __________
Case number         ___________________________________________
(If known)
                                                                                                                                             Check if this is an
                                                                                                                                             amended filing



                                     106Dec
  Declaration About an Individual Debtor’s Schedules                                                                                                   12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




                    Sign Below



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

            No
             Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                                Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




            
          ______________________________________________                _____________________________
         Signature of Debtor 1                                          Signature of Debtor 2


              
         Date _________________                                         Date _________________
                MM /    DD       /   YYYY                                        MM / DD /   YYYY




  Official Form 106Dec                                        Declaration About an Individual Debtor’s Schedules
                                      Case 16-19213-AJC                Doc 1          Filed 06/29/16         Page 48 of 61

   Fill in this information to identify your case:

   Debtor 1                                        
                     __________________________________________________________________
                       First Name             Middle Name                Last Name

   Debtor 2            ________________________________________________________________
   (Spouse, if filing) First Name             Middle Name                Last Name


   United States Bankruptcy Court for the:  
                                           __________         of
                                                       District 
                                                                   ______________

   Case number         ___________________________________________
    (If known)                                                                                                                          Check if this is an
                                                                                                                                        amended filing




                                    107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy
 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
 number (if known). Answer every question.


   Part 1:         Give Details About Your Marital Status and Where You Lived Before


   1. What is your current marital status?

            Married
             Not married


   2. During the last 3 years, have you lived anywhere other than where you live now?
            No
             Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

                 Debtor 1:                                        Dates Debtor 1       Debtor 2:                                         Dates Debtor 2
                                                                  lived there                                                            lived there


                                                                                          Same as Debtor 1                                  Same as Debtor 1

                 __________________________________________       From     ________       ___________________________________________       From ________
                  Number    Street                                                        Number Street
                                                                  To       ________                                                         To     ________
                 __________________________________________                               ___________________________________________

                 __________________________________________                               ___________________________________________
                 City                    State ZIP Code                                   City                    State ZIP Code


                                                                                          Same as Debtor 1                                  Same as Debtor 1

                 __________________________________________       From     ________       ___________________________________________       From ________
                  Number    Street                                                        Number Street
                                                                  To       ________                                                         To     ________
                 __________________________________________                               ___________________________________________

                 __________________________________________                               ___________________________________________
                 City                    State ZIP Code                                   City                    State   ZIP Code


   3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
       states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
            No
             Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).



   Part 2: Explain the Sources of Your Income

Official Form 107                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                           page 1
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Debtor 1                                     
                 _______________________________________________________                                 Case number   (if known)_____________________________________
                 First Name     Middle Name          Last Name




 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

           No
          Yes. Fill in the details.

                                                           Debtor 1                                               Debtor 2

                                                           Sources of income             Gross income             Sources of income            Gross income
                                                           Check all that apply.         (before deductions and   Check all that apply.        (before deductions and
                                                                                         exclusions)                                           exclusions)

                                                                Wages, commissions,                                   Wages, commissions,
            From January 1 of current year until
                                                                 bonuses, tips
                                                                                                
                                                                                         $________________             bonuses, tips           $________________
            the date you filed for bankruptcy:
                                                                 Operating a business                                  Operating a business

                                                                Wages, commissions,                                   Wages, commissions,
            For last calendar year:
                                                                 bonuses, tips                  
                                                                                         $________________             bonuses, tips           $________________
            (January 1 to December 31, 
                                       _________)                Operating a business                                  Operating a business
                                              YYYY


                                                                Wages, commissions,                                   Wages, commissions,
            For the calendar year before that:
                                                                 bonuses, tips                                         bonuses, tips
                                                                                                
                                                                                         $________________                                     $________________
            (January 1 to December 31, 
                                       _________)                Operating a business                                  Operating a business
                                              YYYY



 5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
     unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
     gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

       No
           Yes. Fill in the details.
                                                            Debtor 1                                               Debtor 2

                                                            Sources of income            Gross income from         Sources of income           Gross income from
                                                            Describe below.              each source               Describe below.             each source
                                                                                         (before deductions and                                (before deductions and
                                                                                         exclusions)                                           exclusions)


                                                          __________________            $_________________ _____________________ $_________________
            From January 1 of current year until
            the date you filed for bankruptcy:            __________________            $_________________ _____________________ $_________________
                                                          __________________            $_________________ _____________________ $_________________


            For last calendar year:                       __________________            $_________________ _____________________ $_________________

            (January 1 to December 31,
                                      ______)             __________________            $_________________ _____________________ $_________________
                                              YYYY
                                                          __________________            $_________________ _____________________ $_________________



            For the calendar year before that:            __________________            $_________________ _____________________ $_________________
            (January 1 to December 31, 
                                       ______)            __________________            $_________________ _____________________ $_________________
                                              YYYY
                                                          __________________            $_________________ _____________________ $_________________




                                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 2
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Debtor 1                                  
              _______________________________________________________                                Case number   (if known)_____________________________________
               First Name       Middle Name           Last Name




 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy



 6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               “incurred by an individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6, 25* or more?

                    No. Go to line 7.

                    Yes. List below each creditor to whom you paid a total of $6, 25* or more in one or more payments and the
                         total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                         child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/         and every 3 years after that for cases filed on or after the date of adjustment.

          Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                   No. Go to line 7.

                    Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                         creditor. Do not include payments for domestic support obligations, such as child support and
                         alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                       Dates of      Total amount paid          Amount you still owe       Was this payment for…
                                                                       payment


                      ____________________________________           _________        $_________________ $__________________                   Mortgage
                      Creditor’s Name
                                                                                                                                               Car
                      ____________________________________           _________
                      Number    Street                                                                                                         Credit card

                                                                                                                                               Loan repayment
                      ____________________________________           _________
                                                                                                                                               Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code                                                                             Other ____________




                      ____________________________________           _________        $_________________ $__________________                   Mortgage
                      Creditor’s Name
                                                                                                                                               Car
                      ____________________________________           _________                                                                 Credit card
                      Number    Street
                                                                                                                                               Loan repayment
                      ____________________________________           _________
                                                                                                                                               Suppliers or vendors
                      ____________________________________                                                                                     Other ____________
                      City                    State       ZIP Code




                      ____________________________________           _________        $_________________ $__________________                   Mortgage
                      Creditor’s Name
                                                                                                                                               Car
                      ____________________________________           _________                                                                 Credit card
                      Number    Street
                                                                                                                                               Loan repayment
                      ____________________________________           _________
                                                                                                                                               Suppliers or vendors
                      ____________________________________                                                                                     Other ____________
                      City                    State       ZIP Code




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Debtor 1                                     
                 _______________________________________________________                             Case number   (if known)_____________________________________
                   First Name      Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.
          No
           Yes. List all payments to an insider.
                                                                        Dates of      Total amount     Amount you still    Reason for this payment
                                                                        payment       paid             owe


            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code



            ____________________________________________              _________      $____________ $____________
            Insider’s Name

            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

          No
           Yes. List all payments that benefited an insider.
                                                                       Dates of       Total amount     Amount you still    Reason for this payment
                                                                       payment        paid             owe
                                                                                                                           Include creditor’s name

            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code




            ____________________________________________                             $____________ $____________
                                                                      _________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code




                                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 4
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Debtor 1                                    
                _______________________________________________________                                         Case number   (if known)_____________________________________
                First Name            Middle Name            Last Name




  Part 4:       Identify Legal Actions, Repossessions, and Foreclosures
 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

           No
          Yes. Fill in the details.
                                                                    Nature of the case                    Court or agency                                  Status of the case

                                                                                                  
                         
            Case title_____________________________
                                                                                                         ________________________________________
                                                                                                         Court Name
                                                                                                                                                              Pending

                                                                                                                                                               On appeal
                
            ____________________________________                                                         ________________________________________
                                                                                                         Number    Street                                      Concluded

            Case number        
                             ________________________                                                    ________________________________________
                                                                                                         City                   State   ZIP Code



                                                                                                         ________________________________________
            Case title_____________________________                                                                                                            Pending
                                                                                                         Court Name
                                                                                                                                                               On appeal
            ____________________________________                                                         ________________________________________
                                                                                                         Number    Street                                      Concluded

            Case number ________________________                                                         ________________________________________
                                                                                                         City                   State   ZIP Code


 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

           No. Go to line 11.
          Yes. Fill in the information below.

                                                                                Describe the property                                    Date           Value of the property


                                                                                   
                    
                 _________________________________________                                                                               
                                                                                                                                         __________            
                                                                                                                                                         $______________
                 Creditor’s Name


                    
                 _________________________________________
                 Number      Street                                             Explain what happened

                                                                                   Property was repossessed.
                 _________________________________________
                                                                                    Property was foreclosed.

                                                                    Property was garnished.
                 _________________________________________
                 City                               State   ZIP Code                Property was attached, seized, or levied.

                                                                                Describe the property                                    Date             Value of the property



                                                                                                                                        __________       $______________
                 _________________________________________
                 Creditor’s Name


                 _________________________________________
                 Number      Street
                                                                                Explain what happened

                 _________________________________________                          Property was repossessed.
                                                                                    Property was foreclosed.
                 _________________________________________                          Property was garnished.
                 City                               State   ZIP Code
                                                                                    Property was attached, seized, or levied.



                                                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 5
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Debtor 1                                       
                   _______________________________________________________                               Case number   (if known)_____________________________________
                   First Name    Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
          No
           Yes. Fill in the details.

                                                                 Describe the action the creditor took                           Date action      Amount
           ______________________________________                                                                                was taken
           Creditor’s Name


           ______________________________________                                                                              ____________ $________________
           Number      Street


           ______________________________________

           ______________________________________
           City                           State   ZIP Code       Last 4 digits of account number: XXXX–___ ___ ___ ___


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
          No
           Yes

 Part 5:          List Certain Gifts and Contributions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
          No
           Yes. Fill in the details for each gift.


            Gifts with a total value of more than $600           Describe the gifts                                              Dates you gave       Value
            per person                                                                                                           the gifts



           ______________________________________                                                                                _________          $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                                _________          $_____________

           ______________________________________
           Number      Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you    ______________


           Gifts with a total value of more than $600            Describe the gifts                                              Dates you gave      Value
           per person                                                                                                            the gifts


           ______________________________________                                                                                _________          $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                                _________          $_____________


           ______________________________________
           Number      Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you ______________


                                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 6
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Debtor 1                                       
                   _______________________________________________________                                       Case number   (if known)_____________________________________
                   First Name     Middle Name                Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

          No
           Yes. Fill in the details for each gift or contribution.

            Gifts or contributions to charities                     Describe what you contributed                                         Date you          Value
            that total more than $600                                                                                                     contributed



           _____________________________________                                                                                          _________         $_____________
           Charity’s Name


           _____________________________________                                                                                          _________         $_____________


           _____________________________________
           Number      Street



           _____________________________________
           City           State        ZIP Code




 Part 6:           List Certain Losses


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
     disaster, or gambling?

          No
           Yes. Fill in the details.

            Describe the property you lost and                       Describe any insurance coverage for the loss                         Date of your      Value of property
            how the loss occurred                                                                                                         loss              lost
                                                                     Include the amount that insurance has paid. List pending insurance
                                                                     claims on line 33 of Schedule A/B: Property.


                                                                                                                                          _________         $_____________




 Part 7:          List Certain Payments or Transfers

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
     you consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
          Yes. Fill in the details.

                                                                     Description and value of any property transferred                    Date payment or   Amount of payment
               
            ___________________________________                                                                                           transfer was
            Person Who Was Paid                                                                                                           made

                                                      
            ___________________________________
            Number       Street                                                                                                           
                                                                                                                                          _________               
                                                                                                                                                            $_____________

            ___________________________________
                                                                                                                                          _________         $_____________
                          
            ___________________________________
            City                         State    ZIP Code

            
            ____________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You



                                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 7
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Debtor 1                                    
                _______________________________________________________                                      Case number   (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                    Description and value of any property transferred                Date payment or       Amount of
                                                                                                                                     transfer was made     payment

            ____________________________________
            Person Who Was Paid
                                                                                                                                     _________            $_____________
            ____________________________________
            Number       Street

                                                                                                                                     _________            $_____________
            ____________________________________

            ____________________________________
            City                        State    ZIP Code



            ________________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

          No
           Yes. Fill in the details.

                                                                    Description and value of any property transferred                Date payment or      Amount of payment
                                                                                                                                     transfer was
            ____________________________________                                                                                     made
            Person Who Was Paid

            ____________________________________                                                                                     _________            $____________
            Number        Street

            ____________________________________
                                                                                                                                     _________            $____________
            ____________________________________
            City                        State    ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
          No
           Yes. Fill in the details.
                                                                    Description and value of property        Describe any property or payments received      Date transfer
                                                                    transferred                              or debts paid in exchange                       was made
            ___________________________________
            Person Who Received Transfer

            ___________________________________                                                                                                              _________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code


            Person’s relationship to you _____________

            ___________________________________
            Person Who Received Transfer
                                                                                                                                                             _________
            ___________________________________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code

            Person’s relationship to you _____________

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Debtor 1                                     
                 _______________________________________________________                                     Case number    (if known)_____________________________________
                   First Name     Middle Name              Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

          No
           Yes. Fill in the details.

                                                                   Description and value of the property transferred                                         Date transfer
                                                                                                                                                             was made


                                                                                                                                                             _________
           Name of trust __________________________


           ______________________________________




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
          No
           Yes. Fill in the details.

                                                                   Last 4 digits of account number     Type of account or          Date account was       Last balance before
                                                                                                       instrument                  closed, sold, moved,   closing or transfer
                                                                                                                                   or transferred
            ____________________________________
            Name of Financial Institution
                                                                   XXXX–___ ___ ___ ___                    Checking                _________              $___________
            ____________________________________
            Number       Street
                                                                                                           Savings

            ____________________________________                                                           Money market

                                                                                                           Brokerage
            ____________________________________
            City                       State    ZIP Code
                                                                                                           Other__________



            ____________________________________                   XXXX–___ ___ ___ ___                    Checking                _________              $___________
            Name of Financial Institution
                                                                                                           Savings
            ____________________________________
            Number       Street                                                                            Money market

            ____________________________________                                                           Brokerage

            ____________________________________                                                           Other__________
            City                       State    ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
          No
           Yes. Fill in the details.
                                                                   Who else had access to it?                      Describe the contents                         Do you still
                                                                                                                                                                 have it?

                                                                                                                                                                     No
            ____________________________________                  _______________________________________
            Name of Financial Institution                         Name
                                                                                                                                                                     Yes

            ____________________________________                  _______________________________________
            Number       Street                                   Number   Street
            ____________________________________
                                                                  _______________________________________
                                                                  City       State      ZIP Code
            ____________________________________
            City                       State    ZIP Code



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Debtor 1                                        
                    _______________________________________________________                                             Case number   (if known)_____________________________________
                    First Name     Middle Name               Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
          No
           Yes. Fill in the details.
                                                                    Who else has or had access to it?                        Describe the contents                         Do you still
                                                                                                                                                                           have it?


             ___________________________________                    _______________________________________                                                                    No
             Name of Storage Facility                               Name
                                                                                                                                                                               Yes
             ___________________________________                    _______________________________________
             Number       Street                                    Number    Street

             ___________________________________                    _______________________________________
                                                                    City State ZIP Code
             ___________________________________
             City                        State    ZIP Code



 Part 9:              Identify Property You Hold or Control for Someone Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
          No
           Yes. Fill in the details.
                                                                    Where is the property?                                   Describe the property                     Value


             ___________________________________
             Owner’s Name                                                                                                                                              $__________
                                                                  _________________________________________
             ___________________________________                  Number     Street
             Number       Street
                                                                  _________________________________________
             ___________________________________
                                                                  _________________________________________
             ___________________________________                  City                             State     ZIP Code
             City                        State    ZIP Code


 Part 10:             Give Details About Environmental Information

 For the purpose of Part 10, the following definitions apply:
     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.

     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
     utilize it or used to own, operate, or utilize it, including disposal sites.

     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

          No
           Yes. Fill in the details.
                                                                    Governmental unit                            Environmental law, if you know it                    Date of notice



            ____________________________________                   _______________________________                                                                     _________
            Name of site                                           Governmental unit

            ____________________________________                   _______________________________
            Number       Street                                    Number    Street

                                                                   _______________________________
            ____________________________________                   City                   State   ZIP Code


            ____________________________________
            City                        State    ZIP Code




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Debtor 1                                     
                 _______________________________________________________                                               Case number   (if known)_____________________________________
                   First Name      Middle Name              Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

          No
           Yes. Fill in the details.
                                                                   Governmental unit                               Environmental law, if you know it                   Date of notice


            ____________________________________ _______________________________
            Name of site                                          Governmental unit
                                                                                                                                                                        _________

            ____________________________________ _______________________________
            Number       Street                                   Number     Street


            ____________________________________ _______________________________
                                                                  City                  State    ZIP Code

            ____________________________________
            City                        State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

          No
           Yes. Fill in the details.
                                                                                                                                                                        Status of the
                                                                    Court or agency                                     Nature of the case
                                                                                                                                                                        case

           Case title______________________________
                                                                    ________________________________                                                                        Pending
                                                                    Court Name
                                                                                                                                                                            On appeal
           ______________________________________                   ________________________________
                                                                    Number     Street                                                                                       Concluded

           ______________________________________
                                                                    ________________________________
           Case number                                              City                        State   ZIP Code



 Part 11:            Give Details About Your Business or Connections to Any Business
 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                A member of a limited liability company (LLC) or limited liability partnership (LLP)
                A partner in a partnership
               An officer, director, or managing executive of a corporation
               An owner of at least 5% of the voting or equity securities of a corporation

           No. None of the above applies. Go to Part 12.
          Yes. Check all that apply above and fill in the details below for each business.
                                                                    Describe the nature of the business                               Employer Identification number
                
            ____________________________________                                                                                      Do not include Social Security number or ITIN.
            Business Name
                                                                                                                            ___
                                                                                                                                                – ___     ___
                                                                                                                                                                 ___
                                                                                                                                                                   ___
                                                                                                                                                                       ___
                                                                                                                                                                         
               
            ____________________________________                                                                                      EIN: ___          ___ ___
            Number        Street
                                                                    Name of accountant or bookkeeper                                  Dates business existed
            ____________________________________
                                                                     
                                                                                                                          From    
                                                                                                                                             _______ To _______
            ____________________________________
            City                        State    ZIP Code

                                                                    Describe the nature of the business                               Employer Identification number
            ____________________________________                                                                                      Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                      EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                    Name of accountant or bookkeeper                                  Dates business existed
            ____________________________________

            ____________________________________
                                                                                                                                      From      _______ To _______
            City                        State    ZIP Code


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Debtor 1                                     
                 _______________________________________________________                                      Case number   (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                                                                             Employer Identification number
                                                                    Describe the nature of the business
                                                                                                                             Do not include Social Security number or ITIN.
            ____________________________________
            Business Name
                                                                                                                             EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            ____________________________________
            Number        Street
                                                                    Name of accountant or bookkeeper                         Dates business existed

            ____________________________________

            ____________________________________                                                                             From     _______ To _______
            City                        State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

          No
           Yes. Fill in the details below.

                                                                    Date issued



            ____________________________________                    ____________
            Name                                                    MM / DD / YYYY


            ____________________________________
            Number        Street


            ____________________________________

            ____________________________________
            City                        State    ZIP Code




 Part 12:          Sign Below


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.



             
            ______________________________________________                           _____________________________
            Signature of Debtor 1                                                    Signature of Debtor 2


                  
            Date ________________                                                    Date _________________

      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

            No
             Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
           No
            Yes. Name of person _____________________________________________________________. Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                               Declaration, and Signature (Official Form 119).




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Fill in this information to identify your case:

Debtor 1                                                 
                  __________________________________________________________________
                    First Name               Middle Name               Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name               Middle Name               Last Name


United States Bankruptcy Court for the:  
                                        __________         
                                                    District of __________

Case number         ___________________________________________                                                                               Check if this is an
 (If known)                                                                                                                                   amended filing



                                   108
  Statement of Intention for Individuals Filing Under Chapter 7                                                                                         12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
      creditors have claims secured by your property, or
      you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you l ist on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

    Part 1:          List Your Creditors Who Have Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.

           Identify the creditor and the property that is collateral               What do you intend to do with the property that   Did you claim the property
                                                                                   secures a debt?                                   as exempt on Schedule C?

          Creditor’s                                                                 Surrender the property.                            No
          name:            
                                                                                     Retain the property and redeem it.               Yes
         Description of                                Retain
         property                                                                           the property and enter into a
         securing debt:                                                              Reaffirmation Agreement.
                                                                                     Retain the property and [explain]: __________
                                                                                     ______________________________________


         Creditor’s                                                                  Surrender the property.                            No
         name:
                                                                                     Retain the property and redeem it.                 Yes
         Description of
         property                                                                    Retain the property and enter into a
         securing debt:                                                              Reaffirmation Agreement.
                                                                                     Retain the property and [explain]: __________
                                                                                     ______________________________________

         Creditor’s                                                                  Surrender the property.                            No
         name:
                                                                                     Retain the property and redeem it.                 Yes
         Description of
         property                                                                    Retain the property and enter into a
         securing debt:                                                              Reaffirmation Agreement.
                                                                                     Retain the property and [explain]: __________
                                                                                     ______________________________________

         Creditor’s                                                                  Surrender the property.                            No
         name:
                                                                                     Retain the property and redeem it.                 Yes
         Description of
         property                                                                    Retain the property and enter into a
         securing debt:                                                              Reaffirmation Agreement.
                                                                                     Retain the property and [explain]: __________
                                                                                     ______________________________________


  Official Form 108                            Statement of Intention for Individuals Filing Under Chapter 7                                  page 1
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Debtor 1                                                  
                   ______________________________________________________                          Case number (If known)_____________________________________
                   First Name          Middle Name     Last Name




  Part 2:          List Your Unexpired Personal Property Leases

  For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
  fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
  ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

       Describe your unexpired personal property leases                                                                    Will the lease be assumed?

      Lessor’s name:                                                                                                          No
                                                                                                                              Yes
      Description of leased
      property:


      Lessor’s name:                                                                                                          No
                                                                                                                              Yes
      Description of leased
      property:


      Lessor’s name:                                                                                                          No

      Description of leased                                                                                                   Yes
      property:


      Lessor’s name:                                                                                                          No
                                                                                                                              Yes
      Description of leased
      property:


      Lessor’s name:                                                                                                          No
                                                                                                                              Yes
      Description of leased
      property:


      Lessor’s name:                                                                                                         No
                                                                                                                             Yes
      Description of leased
      property:


      Lessor’s name:                                                                                                         No
                                                                                                                             Yes
      Description of leased
      property:




 Part 3:           Sign Below



    Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
    personal property that is subject to an unexpired lease.



        
      ___________________________________________                      ___________________________________________
      Signature of Debtor 1                                             Signature of Debtor 2

           
      Date _________________                                            Date _________________
            MM /     DD     /   YYYY                                         MM /   DD /   YYYY




                                                     Statement of Intention for Individuals Filing Under Chapter 7                          page 2
